Case: 1:14-cv-04854 Document #: 138 Filed: 06/19/18 Page 1 of 101 PagelD #:424 AS

IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

ILLINOIS FILED

CEZARY WOJCIK, ) 14 cv 4854

Jun 19 2018(/)

Plaintiff, ) Honorable Judg
HOMAS G. BRUTON.

‘i John J. Tharp ¢y ERK, U.S. DISTRICT COURT

)
COUNTY OF COOK, et al., ) Magistrate Judge

) Young B. Kim

)

Defendants
PLAINTIFF LOCAL RULE 56.1 RESPONSE TO DEFENDANT STATEMENT

Pursuant to Local Rule 56.1 PLAINTIFF CEZARY WOJCIK, PRO SE, responds to Local Rule
56.1 (a) (3) Statement of Material Facts and Supporting Exhibits field by Plaintiff To
DEFENDANTS, the COUNTY OF COOK, PAUL SKRIVAN, DAWN HOWELL, REBECCA
MASI, DRUCILLA KILGORE individually, SHERIFF DEPUTY KALOUDIS, SHERIFF
DEPUTY ALI, and COOK COUNTY SHERIFF THOMAS DART, in his official capacity:

l. This action arises under Title 42 U.S.C. §1983 and Title 28 U.S.C. § 1367 of the United

States Code.
Plaintiff: Admits

2: Jurisdiction and venue are not disputed and this action is properly before this Court.
Plaintiff: Admits

a Plaintiff sues Paul Skrivan, a physician assistant at Cook County Jail; Dawn Howell and

Drucilla Kilgore, nurses at Cook County Jail; Rebecca Masi, a Mental Health Specialist at
Cook County Jail; Deputy Steve Kaloudis, and Deputy Ali, officers with the Cook County
Sheriff in their individual capacity. Plaintiff's First Amended Complaint, at Dkt. 16 attached as
Exhibit A (“Def. Ex. A”).

Plaintiff: Admits

4. Plaintiff sues the County of Cook and Cook County Sheriff Thomas Dart in their official
capacities. (Id.)

Plaintiff: Admits

5. On June 27, 2013, Plaintiff was sentenced to ten days of incarceration at Cook County Jail
(“CCI”). (Def. Ex. A, at § 11). At the time, Plaintiff was using the alias Anthony Avado
(Plaintiff's Deposition Transcript, attached as Exhibit B, 14:19-21)

Plaintiff: Admits
 

maa

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Plaintiff affirmatively states that Judge put on sentencing Order in the name of Anthony
Avado aka Cezary Wojcik and attached list of Medication from PCP in the name of
Cezary Wojcik, evidence is attached Plaint. EX. 6, EX. 20, EX. 21 to Wojcik Declaration.

6. When Plaintiff was sentenced, the judge ordered he serve his sentence at Cermak, a hospital on
the grounds of CCJ. (Def. Ex. A, at § 12).

Plaintiff: Denies

Plaintiff DENIES this allegation and further states that defendant’s citation to the record
does not support it. The cited document says nothing about Cermark Hospital being
on the ground of CCJ.

he had been prescribed by his “personal medical professionals.” (Def. Ex. A, at § 14;
Exhibit B, ex. 2).

7. The judge also attached a letter from Plaintiff's primary care physician listing medication
Plaintiff: Admits
|
8. Plaintiff alleges he did not receive the medication on this list while he was incarcerated at CCJ
from June 27 to June 20, 2013. (Def. Ex. A, at f¥ 11, 23).

Plaintiff: Denies

Plaintiff DENIES this allegation and further states that defendant’s citation to the record
does not support it. The cited document shows different dates.

9. Defendant Deputy Kaloudis processed Plaintiff at the Skokie Courthouse, where Plaintiff
received his sentence. (Def. Ex. A, at § 15. Declaration of Defendant Kaloudis, attached as Def.
Exhibit C).

Plaintiff: Denies

Plaintiff DENIES this allegation and further states that defendant’s citation to the record
does not support it. The cited document shows different dates. Plaintiff affirmatively
states that on the attached Plaint. Doc. EX. 1 to Wojcik Declaration, the date on the
Complaint Arrestee Property (23 June 2013) is different than on the Order (June
27, 2013) and both of these happened on the same day.

10. When Defendant Deputy Kaloudis processed Plaintiff, he was using the name Anthony
Avado. Plaintiff was processed at approximately 2:14 p.m. on June 27, 2013, and given
the jail identification number 2013-0627032. (Def. Ex. B, 14:29-21; Ex. C, ex. 1).

Plaintiff: Admits

Plaintiff affirmatively states that the Judge put on sentencing Order in the name of
Anthony Avado aka Cezary Wojcik and attached list of Medication from PCP in the
name Cezary Wojcik, evidence is attached Plaint. EX. 20, EX. 21 to Wojcik Declaration.

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Ll. Plaintiff was given good time credit as well as credit for time served, which reduced his
ten-day sentence to four days. (Def. Ex. C, ex. 1)

Plaintiff: Admits
12. Plaintiff's property, including the letter, was placed in in transportation bag. (Ex. B, 35:10-16)
Plaintiff: Admits

13. Defendant Deputy Ali was one of the transport officers who drove Plaintiff from Skokie to
CCI. (Ex. C, ex. 2)

Plaintiff: Admits

14. Plaintiff does not know the names of any of the Officers he encountered at Skokie, and cannot
identify them. (Ex. B, 31:15-19)

Plaintiff: Admits

15. When Plaintiff arrived at CCJ, Defendant Drucilla Gilore, RN, performed an intake screening
at approximately 8:46 on June 27. (Excerpt of Plaintiff's Medical Records, attached as Exhibit
D, Bates Numbered SAO Wojcik 00005) Plaintiff does not recall this. (Ex. B, 71:17-72:4)

Plaintiff: Denies

Plaintiff DENIES this allegation and further states that defendant’s citation to the record
does not support it. The cited document that Drucilla Kilgore, RN (not “Gilore”)
“performed” an intake screening on 6/27/13 at approximately 2:16pm and that she later
“entered” the information at approximately 8:46pm. The document does not support the
allegation that the screening was “performed” at 8:46pm.

16. Detendant Gilgore’s intake sheet noted that the inmate understood English. (Ex. D, SAO
Wojcik 0005)

Plaintiff: Admits
Plaintiff affirmatively states that Kilgore not “Gilgore’s” understood English.

17, Kilgore noted the inmate, Avado, appeared normal, and that his vital signs were stable.
(Ex. D, SAO Wojcik 00009)

Plaintiff: Denies
Plaintiff affirmatively states that during the intake he complained to the officer about

health issues and concerns, Def. Ex. B, Page 37:1-24, Ex. B. Page 38:1-5, Ex. B, Page
58:22-24, and Ex. B, Page 59:1-17.

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Kilgore also noted that Avado had Parkinson's disease and Alzheimer’s disease, and that
he took medication for them. (Ex. D, SAO Wojcik 00008, 9) As a result he was referred
for further medical assessment. (/d. at 00010).

Plaintiff: Admits

Plaintiff recalls telling someone when he was being processed at CCJ that he had
Parkinson’s Disease and Alzheimer’s Disease. (Ex. B, 62:5-8, 66:19-21)

Plaintiff: Admits

Plaintiff was then evaluated by Rebecca Masi, as a Mental Health Specialist at Cermak
Health Services. Masi performed and documented an Intake Mental Health Assessment,
which was documented on an Intake 2nd MH form (Ex. D, SAO Wojcik 00010-13),
Plaintiff does not recall this. (Ex. B, 71:17-72:4).

Plaintiff: Denies

Plaintiff affirmatively states that the documents does not support that Rebecca Masi
is a Mental Health Specialist.

Masi noted that Avado’s Primary Care Physician gave him a prescription to take two
milligrams of Xanax and Clonazepam twice a day. (Ex. D, SAO Wojcik 00011), These
were the only drugs Avado mentioned.

Plaintiff: Denies

Plaintiff affirmatively states that Avado’s PCP is not Buschkarski but is Jakimiec
and also prescriptions were in Wojcik not Avado’s name and evidence is attached
document Plaint. EX. 20 to Wojcik Declaration. This is another proof that the
original was stored in plastic bag.

Masi consulted the psychiatrist in RCDC who checked the [Illinois Controlled Substance
Database to verify if Avado had the prescriptions he reported. Avado did not appear in
this database. (Ex. D, SAO Wojcik 00012)

Plaintiff: Admits

Plaintiff affirmatively states that the order had two names (Avado aka Wojcik), Plaint
Ex.21 to Wojcik Declaration.

Avado reported he was having panic attacks and was very anxious about his condition.
(Id.)

Plaintiff: Admits

Masi advised Avado if these symptoms worsen he should fill out a Health Service
Request Form for a follow up appointment. (Ex. D, SAO Wojcik 00013)
 

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Plaintiff: Admits

25. Physician Assistant Paul Skrivan performed and documented a Second Intake Medical
Assessment of Plaintiff at approximately 10:38 p.m. (Id.) Plaintiff does not recall this. (Ex.
B, 71:17-72:4)

Plaintiff: Denies

Plaintiff DENIES this allegation and further states that Defendant’s citation to the
record does not support it because the citation was regarding Rebecca Masi not
Physician Assistant Paul Skrivan.

26. Skrivan recorded the patient’s date of birth as January 12, 1962. (Id.). Plaintiff's date of
birth is January 12, 1962. (Ex. B, 78:14-15)

Plaintiff: Admits

27. Avado told Skrivan he took multiple medications, but could not provide their names. (Ex.
D, SAO Wojcik 00014)

Plaintiff: Admits
28. | Skrivan was unable to verify Avado’s prescriptions with Jewel’s pharmacy. (/d.)
Plaintiff: Admits

Plaintiff affirmatively states that the order had two names (Avado aka Wojcik), Plaint
Ex.21 to Wojcik Declaration.

29. Skrivan did not observe Avado to be in any distress, but noticed Avado’s blood pressure
was slightly elevated, which is not uncommon going through the intake process. (Ex. D,
SAO Wojcik, 00014-15).

Plaintiff: Denies

Plaintiff affirmatively states that Skrivan could not take Avado’s blood pressure at
14:16 when at the time Plaintiff was in Skokie Court House. Def. Ex. C, SAO 37.
Also Plaintiff reported having a panic attack SAO 12 “I have panick attack. My
heart pounds, I’m just getting crazy because I don’t know whats going on with my
body.”“

30. | Skrivan wrote Avado a prescription for blood pressure medications: Amlodipine and
Propranolol. (Ex. D, SAO Wojcik, 00015).

Plaintiff: Admits

31. Skrivan referred Avado to Primary Care for follow-up counseling regarding his
medications, and marked this referral as urgent. (/d.)
 

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Plaintiff: Admits
32.  Skrivan also referred Avado to the Medical Infirmary for his housing assignment. (/d.)
Plaintiff: Admits

33. On June 28, 2013, Anthony Avado submitted a Health Services Request Form, (Ex. D,
SAO Wojcik, 00016). The form listed several medications he had taken the day prior:
Alprazolam, Clonazepam, Norvasc. Vicodin, and two other medications that are difficult
to make out on the form. (/d.)

Plaintiff: Admits

Plaintiff affirmatively states that the date on Request Form Def. EX. D. SAO 16 is
6/26/13, Def. EX. B 78:21-24. 79:1-4

34. Plaintiff knows that he completed some sort of form when at CCJ (Ex. B, 82:8-18)
Plaintiff: Admits

35. | Nurse Dawn Howell responded to Avado’s request at approximately 12:30 p.m. on June
28. (Ex. D, SAO Wojcik 00018)

Plaintiff: Admits

36. According to Cermak records, the medication had been verified and needed to be
delivered from the pharmacy. (/d.)

Plaintiff: Admits

Plaintiff affirmatively states that how Nurse Dawn Howell was able to verify medications
under Ayado since they were under Wojcik name.

37. The detainee also complained about lower back pain. (/d). He was given Tylenol. (/d.)
Plaintiff: Denies
Plaintiff affirmatively states that he wasn’t given Tylenol.

38. Plaintiff recalls speaking with a woman on June 28 and telling her he needed medication
and that he had back pain. (Ex. B, 77:13-19)

Plaintiff: Admits

39. Plaintiff recalls telling officers at CCJ about his medication needs, but not any medical
staff. (Ex. B. 36:22-37:1)

Plaintiff: Denies
 

 

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Plaintiff DENIES this allegation and further states that he previously complained to
Defendant’s Kilgore SAO 08, Masi SAO 11, 12, Skrivan SAO 15, additionally Plaintiff
completed Health Service Request Form SAO 16.

40. Plaintiff did not seek medical attention at CCJ on June 29 or June 30, 2013. (Ex. B, 84:6-
8, 93:6-17)

Plaintiff: Admits

41. Plaintiff took a cab to Rush Hospital when he was released from CCJ on June 30, 2013.
(Ex. B, 40:2-10)

Plaintiff: Admits

42. _ Plaintiff was experiencing shortness of breath, racing heartbeat, and difficulty walking
when he was released from CCJ. (Ex. B, 41:2-7)

Plaintiff: Admits

43. Plaintiff did not seek medical attention for any of the symptoms he reported when he
arrived at Rush while he was at CCJ. (Ex. B, 41:8-17)
Plaintiff: Denies

Plaintiff DENIES this allegation and further states the Defendant’s citation to the
record does not support it. The cited document only states that I did not receive
treatment it is not asking if | wasn’t seeking for a medical attention.

The importance of shortcuts Defendant Exhibits

Def. / Defendant Exhibit A — Plaintiff Complain
Plaint. / Plaintiff Exhibit B — Plaintiff Deposition
EX. / Exhibit Exhibit C — Defendant Declaration
1-24 / Line Exhibit D -- Plaintiff Medical File

Div. / Division

PCP / Primary Care Provider

Plaint. EX/ Plaintiff Exhibit to Wojcik Declaration
Pic/Picture

Respectfully Submitted By Plaintiff
Cezary Wojcik PRO SE

1634 N. Milwaukee Ave.

Chicago IL. 60647.

Tel. 773-414 0471

Jun 18-2018

 
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IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
ILLINOIS

CEZARY WOJCIK, 14 cv 4854

Plaintiff, Honorable Judge
John J. Tharp
vs.

COUNTY OF COOK, et al., Magistrate Judge
Young B. Kim

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Detendants
PLANTIFF LOCAL RULE 56.1 (B)3 STATEMENT OF ADDITIONAL FACTS

ALL PLAINTIFF FACTS IT IS DECLARE UNDER PENALTY OF PERJURY
UNDER THE LAW OF THE UNITED STATES THAT THE FOREGOING IS
TRUE AND CORRECT

Pursuant to Local Rule 56.1 (b) (3) PLAINTIFF CEZARY WOJCIK, PRO SE, states the
following additional facts.

1. Because Plaintiff Disability and need Medical Attention, attached document Plaint. |
EX. 7, 21 to Wojcik Declaration, on June 27-2013 Plaintiff had in possession all |
necessary medications before he was arrested by Sherriff Def.Ex.A, Page 3 Point 13.

tM

Last time medication was taken 6-26-13 Def. Ex. B, page 78: 21-24 Page 79: 1-4, Def.
EX. D. SAO 16

tod

Deputy Sheriff Steve Kaloudis placed court’s order and doctor’s order and sealed them
in plastic bag also referred as transportation bag. This bag with other inmate’s property
was placed into holding until inmate was released from jail on June 30-2013, Plaint
EX.2 to Wojcik Delcaration, Def. EX A, Page 4 Point 17 and 19. At this point Plaintiff
still has the original sealed plastic bag with documents including court’s order and
doctor’s order, Plaint. EX. 1 Pic. 1, 2,3, te Wojcik Declaration.

4. Arriving at intake CCJ I stated my name as Cezary Wojcik and complained to the officer
about my court order and health issues and concerns Def. Ex B, Page 37: 1-24, Ex. B.
Page 38:1-5, Ex. B, Page 58: 22-24, and Ex. B, Page 59: 1-17

 

 
 

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10.

Ll.

14.

Plaintiff admitted to have epilepsy (seizures) and hypertension (high blood pressure)
Def. EX. D, SAO 07, Parkinson’s, Alzheimer’s EX. D, SAO 08. shortness of breath on
medication EX. D, SAO 09, abnormal heart rhythm EX. D, SAO 10

Admitted to talking medications including Xanax 2mg and Clonazepam 2mg which was
explained to Rebecca Masi that the documents were in a placed in sealed plastic bag
with my clothes on June 27, 2013 at 9:30 pm Def. EX. D, SAO 11, and evidence is
attached document Plaint. Doc. EX. 1 Pic. 1, 2, 3 to Wojcik Declaration.

Rebecca Masi checked the record in Illinois Controlled Substance Database on Anthony
Avado and could not verify it because it was under the name Cezary Wojcik Def. EX D
SAO 12. All because original documents with doctors order and medication was in
sealed property bag with other inmate property Plaint. EX 1, 2, 20 to Wocjik
Declaration.

Plaintiff complained to Masi, about experiencing a panic attack, confusion, palpitations,
pounding of the heart, chest pain, discomfort, and anxiety Def. EX. D, SAO 12

In her report Rebecca Masi states “Pt presents as 51 y/o Hispanic male”. Plaintiff is not
Hispanic but White. She was doing many other intakes with other people at the same
time and this commotion cased negligence. Def. EX.D SAO 13

Skrivan could not verify Medication (unable to verify meds with Jewel Pharmacy at that
time) because was checking under Avado. Def. EX. D, SAO 14

Skrivan completed intake on June 27, 2013 Def. EX. D, SAO 15 and referred Plaintiff to
Medical Infirmary for his housing assignment but Rebecca Masi referred me to General
Population Def. EX.D. SAOQ13

. Due to the lack of receiving medication this caused side effects of Withdrawal

Syndromes; evidence is attached document, Plaint. Doc. EX. 4,5, a-b-c to Wojeik
Declaration,

. Judge order, dual names Avado a/k/a Wojcik, evidence is attached document Plaint.

Doc. EX. 6, 7, 21 to Wojcik Declaration,

By taking different medication and changes made by the physician, I cannot remember
all medication and when it is been changed. Evidence is attached document Plaint. Doc.
EX. 8 to Wojcik Declaration, Def. EX. B, Page 6: 19-24, 7: 1-11, and Def. EX. B,
Page 24: 1-22

. Also on June-28-2013 Plaintiff Attorney visit in Cook County Jail (Kent Brody) and

witness and complained about not being located in Cermak Memorial Hospital
(bringing Judge Order) but in Division 2, General Population. Def. EX.B, Page 54:
15-24
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16.

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22.

Due to the fact by not receiving medical treatment at Cook County Jail, (general
population Division 2) on June 28, 2013 while being escorted from the 4" floor to the
basement floor, I experience Heart and Neurological problem and | fell on the staircase
injured my body (Back, Knees, Hernia) Def. Ex. D, SAO 18, EX. D, SAO 16, EX. B,
Page 77: 13-18, EX. B, Page 42: 20-24, Page 43: 1-11. Evidence is attached document
Plaint. Doc. Pic. 5, 6, 7, 8,9 to Wojcik Declaration

With My Condition and Judge Order for Special Care, while being escorted from the
Court House to Cook County Jail on 2800 S. California (I was handcuffed with the other
inmate, no safety belts or barrier) | broke my back on the bus ride, Det. EX. A, Page 4
Point 16-17 and forced to walked Jun 28-13 to basement (there is elevator) Plaint. Fell
on staircase, evidence is attached document Plaint. EX. 17, copy from orthopedic
doctor David Cheng visit 10-14-2013, and Pic. 6, 7, 8,9 to Wojcik Declaration

According to Def. EX. D SAO 18 Nurse Dawn Howell could not “verify medication”,
and “resolve” medical needs under Anthony Avado since it was under Cezary Wojcik.

Another proof that the original documents were in sealed plastic bag, evidence is
attached Plaint. EX. 1, 2,20. Pic. 1,2, 3 to Wojcik Declaration.

. June 28-2013 Plaintiff was directed (from 4" floor walk) to basement, and on Request

Form was given List of specific medication that should be provided by Judge Sentencing
Order. Do to fact it never happened not even taken into consideration cost Withdrawal
Syndrome (typical negligent, documents speak for it) Def. EX. D, SAO 16 and
evidence is attached document Plaint. Doc. EX. 4, 5 (a) (b) (c) to Wojcik Declaration.

Plaintiff complained to another Polish inmate (David) Def. Ex. B, Page 55: 1-10, Def.
EX. B, 84:14-24 and 85:1-18 and to Officer Moore and Officer Krug about his medical
condition, never got proper response. Evidence is attached Plaint Ex. 2 to Wojcik
Declaration.

. June 30, 2013 released from jail, General Population, still no medical attention received.

I was still complaining of health issues including breathing, and heart problems Ex. B,
Page 94: 4-24, Page 95: 1-21

June 30-2013 immediately transported to Rush University Hospital Emergency Room
complaining of chest pain, shortness of breath, back pain, bilateral knee pain, and had an
EKG done that came out as abnormal. document Plaint. Doc. EX. 9 to Wojcik
Declaration received the proper medications document Plaint. Doe. EX. 10 to Wojcik
Declaration. Admitted to being released from jail and not having received any
medications throughout the stay. evidence is attached document Plaint. Doc. EX. 11 to
Wojcik Declaration, Pic. 4, 5

. In date 7/10/2013, 8/3/13, 9/4/2013 Plaintiff saw a primary physician for referral for

treatments including, neurology, orthopedics, gastroenterologist, and evidence is
attached document Plaint. Doc. EX. 12 to Wojcik Declaration.
 

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28.

Due the fell experienced on the staircase on June 28-2013 had to see and orthopedic
physician for knee treatment evidence is attached document Plaint. Doc. EX. 15, Pic. 4,
5, to Wojcik Declaration

. Seeing a gastroenterologist for a broken hernia, evidence is attached document evidence

is attached document Plaint. Doc. EX. 16 to Wojcik Declaration,

. Started seeing Dr. Hall, neurologist on 7-11-2013 with complaints about health issues

during the stay at the jail, evidence are attached document Plaint. Doc. EX. 13, 14 to
Wojcik Declaration

. Side effects of not taking medications while being incarcerated caused extensive Cardiac

Problems. Started seeing a Cardiologist on 2-25-2014, evidence is attached document
Plaint. Doc. EX.18 to Wojcik Declaration, Copy 18. Additional problems include
atrial flutter, palpitations on 4-15-2014, evidence is attached document Plaint. Doc.
EX.19 to Wojcik Declaration.

Plaintiff reported and seeks at numerous occasions, about his medical needs and
conditions, All of which is noted in Defendant’s Local Rule 56.1 (a)(3) Statement Of
Material Facts and Supporting Exhibits point 43 that is another huge contradiction
and discredit upon the administration to point 19, 21, 23, 27, 33, 38, 39, Def. EX. D
SAO 12 and SAO 16.

The importance of shortcuts Defendant Exhibits

Def. / Defendant Exhibit A — Plaintiff Complain
Plaint. / Plaintiff Exhibit B — Plaintiff Deposition
EX. / Exhibit Exhibit C — Defendant Declaration
1-24 / Line Exhibit D -- Plaintiff Medical File

Div. / Division

PCP / Primary Care Provider

Plaint. EX/ Plaintiff Exhibit to Wojcik Declaration
Pic/Picture

Respectfully Submitted By Plaintiff
Cezary Wojcik PRO SE

1634 N.

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Jun 18-2018
.™

 

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IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

ILLINOIS

CEZARY WOJCIK, ) 14 cv 4854

)
Plaintiff, ) Honorable Judge

) John J. Tharp

vs. )
)

COUNTY OF COOK, et al., ) Magistrate Judge
) Young B. Kim
)

Defendants :

PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY
JUDGEMENT

ALL PLAINTIFF FACTS IT IS DECLARE UNDER PENALTY OF PERJURY
UNDER THE LAW OF THE UNITED STATES THAT THE FOREGOING IS
TRUE AND CORRECT

In June 30-2016 Plaintiff was sentence for 120 days, for proper treatment and program
recommended by Judge in Rolling Meadows Court. Because Judge recognized
PLAINTIFF DISABILITY AND SERIOUS MEDICAL NEEDS His Order was Sent
Plaintiff to Cermark Memorial Hospital on 2800 S. California, Def. SOF 4 EX. B, Page
86: 16-24,

From Court Room Plaintiff was moved to holding cell for process with Judge Order
Documents which was given to the Sheriff, evidence is attached document Plaint. Doc.
EX. A to Wojcik Declaration,

After fingerprinting and registration Plaintiff was waiting for transportation (special van
for

Inmates with medical needs) and sent to Cermak Memorial Hospital. Def. SOF EX. B,
Page 86: 20-24

In Intake Area on ground floor Div. 2, Plaint. EX. A, Plaintiff was directed thru hallway
underground to different location - Cermak Memorial Hospital. Div. 8 - 3W, evidence is
attached document Plaint. EX. B to Wojcik Declaration

In June 30-2016 Plaintiff arrived in Cermark Memorial Hospital — Div. 8, 3W 5:00 pm,
moreover was seeing Doctor 5:38 pm, evidence is attached document Plaint. Doc. EX. C
to Wojcik Declaration, and started take prescribed medication, (Clonazepam etc.) Def.
SOF 4 EX. B, Page 87: 23-24 Page 88: 1-22
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6

In Nov 16-2016 Plaintiff request for medical record in Polish written form and was
provided, evidence is attached document Plaint. EX. B to Wojcik Declaration

On 7-24-2017 Defendants Attorney Supply With Inmate Information Handbook.
Why Plaintiff never got in COOK COUNTY JAIL Inmate Information Handbook
or either Instruction in Polish (Plaintiff don’t read or write English) Jun. 27 - 2013
or any help whatsoever? They are exists in Spanish!!!

Indeed those arguments provided only to One Conclusion — Defendants deception
failure to provide Medical Care according to Judge Order and evidence is attached
document Plaint. EX. 21 to Wojcik Declarations. By negligence of the Sheriff
(S.Kaloudis) who was working only for a month in Skokie Court House, Def. EX. C,
Point 2 he disregard to comply with Judge Rules and sending inmates to CCJ, Def.
EX. C, Point 3. Instead sent Plaintiff to Cermak Memorial Hospital, Plaintiff was
send to General Population Division 2, which is not Medical Ward. Evidence is
attached document Plaint. EX. 2,3 to Wojcik Declaration, Pic 1, 2, 3. Plaintiff
emphasizes, most of them are Despicable Liars and Profoundly Conspire to the
Facts under Oath, having own Attorneys Tampering with those Facts and Evidence
to Constitutional Law. Also making distraction and created confusion in Discovery
Deposition Def. EX. B Page 5: 23-24, Page 6: 1-7, even ask Plaintiff if he is on any
medication (Plaint. Admitted) Def, Ex. B Page 6: 16-24 Page 7: 1-16. In addition
Plaintiff attempt serve requesting documents for Deposition Officer Krug and

Moore as potentials Witnesses, also for production of document with Defendant
signature after receiving them Def. EX. B Page 11: 21-24 Page 12: 1-24 Page 13: 1-6.
Defendant mockingly and with consciousness refused take or sign Plaintiff
Documents, so as PRO SE Plaintiff wouldn’t be able have hard evidence to this case.

Defendant’s documents is only showing a lot of contradiction, fabrication also
incoherence (different time, place, and date) and abusing not obeying the law.

For example proven fact from Def. Statement 56.1 Of Material Facts and
Supporting Exhibits, point 15 and 19, 21, 23, 33, 38, 39, are all contradictions to
point 43. Defendants Material Of Facts Point 43, which wrongfully concludes that
Plaintiff did not seek medical attention. The citation to Plaintiffs Deposition (Ex. B,
41:8-17) in support of point 43 is inaccurate. The deposition states:

“Q __ And these were all symptoms you had when you were released from
Cook County Jail?

A That’s right.

Q Did you have any of these symptoms while you were in Cook County?

A Yes, yes. That’s where it started.

Q Okay. And you didn’t—and it’s your testimony you didn’t receive
any treatment for any of these while you were at Cook County jail?

A Correct, no.”

In conclusion, this quote, states that I did not receive requested medical treatment.
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10 It is showing consistently Defendant’s Proof that Def. 56.1 SMF It Is Not Making
any sense, disproving itself with material fact they presented and created
unbelievable things. Documents Def. EX. D it is showing presumably they have been
rigged. Credibility is under the question mark, if they have in possession Original
Not a Copy Document of those statements and if they can provide them?

This is Very Essential for the Good of Many People; therefore Plaintiff is humbly
appealing your Honor that this Case Can Not Evaporate but must move forward
and proceed. Thank you.

The importance of shortcuts Defendant Exhibits

Def. / Defendant Exhibit A — Plaintiff Complain
Plaint. / Plaintiff Exhibit B — Plaintiff Deposition
EX. / Exhibit Exhibit C — Defendant Declaration
1-24 / Line Exhibit D -- Plaintiff Medical File

Div. / Division

PCP / Primary Care Provider

Plaint. EX/ Plaintiff Exhibit to Wojcik Declaration
Pic/ Picture

Respectfully Submitted By Plaintiff
Cezary Wojcik PRO SE

1634 N. Milwaukee Ave.

Chicago IL. 60647.

Tel. 773-414 0471

Jun 18-2018

 
  

 

re Case: 1:14-cv-04854 Document #: 138 Filed: 06/19/18 Page 15 of 101 PagelD #:424

)

\IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

ILLINOIS
GEZARY WOICIK, ) 14 cv 4854
)
Plaintiff, ) Honorable Judge
) John J. Tharp
VS. )
)
COUNTY OF COOK, et al., ) Magistrate Judge
) Young B. Kim
Defendants )
DECLARATION

ALL PLAINTIFF FACTS IT IS DECLARE UNDER PENALTY OF PERJURY
UNDER THE LAW OF THE UNITED STATES THAT THE FOREGOING IS
TRUE AND CORRECT

I, CEZARY WOJCIK, STATE THAT I COULD COMPETENTLY TESTIFY TO THE
FOLLOWING FACTS THAT ALL ATTACHED EXHIBITS ARE TRUE AND ACCURATE
COPY OF ITS ORIGINAL:

EX. 1- Legal Documents sealed in a property bag, Pic 1, 2. Sheriff “s date 23 June 2013
EX. 2- Received Clothing Receipt, date 06/27/2013, Pic 3
EX. 3- Sheriff Money Receipt dated 6/27/13 time 8:17PM
EX. 4- Proven Fact By Expert Doctors Statement, Wikipedia Benzodiazepine Withdrawal
Syndrome, printed on 05/21/2017
e EX.5- Proven Fact By Expert Doctors Statement, Mayo Clinic Withdrawal Syndrome
Clonazepam, printed on 4/26/18
(a) Proven Fact By Expert Doctors Statement, Mayo Clinic Withdrawal
Symptoms Alprazolam, printed on 4/26/18
(b) Harvard Health Publication By Expert Doctors Statement, Bipolar Disorder
printed on 4/26/18
(c) Harvard Health Publication By Expert Doctors Statement, Xanax printed on
4/26/18 Medically Reviewed on 9/28/16
EX.6- Judge’s Sentencing Order, date June 27, 2013
EX. 7- Attorney’s copy attached to the Sentencing Order, date June 27, 2013, Pic 3
EX. 8- List of Different Medication
EX.9- Rush University Medical Center-Emergency Service, date 06/30/2013, Pic 4.5
EX.10- Rush University Medical Center list of given medication, date Jun 30, 2013
EX.11- Rush University Emergency Service- Emergency Service, date 6/30/2013, Pic 4,5
EX.12- Referral to specialists to PCP, date 7/10/2013, 8/3/13, 9/4/2013
EX. 13- Rush AMB Report by Dr. Hall, date 7/11/13
EX. 14- Dr. Hall’s diagnosis, date 7/11/13
 

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EX.15- Rush Orthopedic Clinic Dr. Blomgren’s Diagnosis, date 7/26/13, Pic 4,5
EX.16- Rush University Surgeon Report, date 9/8/2013

EX.17- Rush Orthopedic Clinic Dr. Chang’s Diagnosis, 10/14/2013

EX.18- Rush Cardiology Dr. Kousik’s Diagnosis, date 2/25/2014

EX.19- Cardiology List of medication and medical problems, date 4/15/2014

EX.20- Copy of Medication Order from PCP attached to Sentence Order Jun 27, 2013
EX.21- Copy of Judge’s Sentence Order Jun 27,2013

EX. A- Sheriff's Property Receipt, date 6/30/2016

EX.B- Cermark Memorial Hospital Funds Inquiry, date 9/13/2016
EX.C- Doctor’s Orders from Cermark Memorial Hospital, date 10/25/16
EX.D- Request for medical records in Polish, date 11/16/2016

Pic.1- Enlarged Original Complaint Arrestee Property document sealed in plastic bag:
picture taken at RUSH Hospital Emergency Room on 6/30/13

Pic.2- Whole Original Complaint Arrestee Property document sealed in plastic bag;
picture taken at RUSH Hospital Emergency Room on 6/30/13

Pic.3- Original PCP Medical Order sealed in a plastic bag and Received Clothing
Receipt; picture taken at RUSH Hospital Emergency Room on 6/30/13

Pic.4- Emergency Room, RUSH Hospital 6/30/13

Pic.5- Picture showing open wound after falling in jail, picture taken at RUSH Hospital
Emergency Room on 6/30/13

Pic.6- Copy of X-ray showing broken back, RUSH Orthopedic, Dr. Chang. 10/14/2013
Pic.7- Close-up of X-ray showing broken back, RUSH Orthopedic. Dr. Chang,
10/14/2013

Pic.8-Copy of X-ray showing fusion broken back, Evanston Hospital 1/15/18

Pic.9- Copy of the back-after surgery. it been taken 1/24/18 by Plaintiff daughter.

The importance of shortcuts Defendant Exhibits

Def. / Defendant Exhibit A — Plaintiff Complain
Plaint. / Plaintiff Exhibit B — Plaintiff Deposition
EX. / Exhibit Exhibit C — Defendant Declaration
1-24 / Line Exhibit D -- Plaintiff Medical File
Div. / Division

PCP / Primary Care Provider

Plaint. EX/ Plaintiff Exhibit to Wojcik Declaration

Pic/Picture

Respectfully Submitted By Plaintiff
Cezary Wojcik PRO SE

1634 N. Milwaukee Ave.

Chicago IL. 60647.

Tel. 773-414 0471

Jun 18-2018
 

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SHERIFF OF COOK COUNTY
COMPLIANT ARRESTEE OTL sy 3d
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EX # |

 

 
 

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06/19/18 Page 18 of 101 PagelD #:424

 

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Name: AVADO, ANTHONY

 

 

 

 

 

 

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COOK COUNTY SHERIFF'S OFFICE aa orator
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Inmate #: 674735 Booking #: 20130627032
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Inmate Money

 

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Ex 4

| of 24

Benzodiazepine withdrawal syndrome

From Wikipedia, the free encyclopedia

Benzodiazepine withdrawal syndrome—often

abbreviated to benzo withdrawal—is the cluster of Benzodiazepine withdrawal syndrome
symptoms that emerge when a person who has taken Classification and external resources
benzodiazepines, either medically or recreationally, and

3 i Critical dicine, Psychi
has developed a physical dependence undergoes dosage PPPS) ECRY COS RIS SY

‘reduction or discontinuation Development of physical ICD-10 —F13 (http://apps.who.int/classifications

dependence and/or addiction and the resulting withdrawal /icd10/browse/2016/en#/F 13).3
symptoms, some of which may last for years, may result =

from either drug-seeking behaviors or from taking the medication as prescribed. Benzodiazepine withdrawal
is characterized by sleep disturbance, irritability, increased tension and anxiety, panic attacks, hand tremor,
sweating, difficulty with concentration, confusion and cognitive difficulty, memory problems, dry retching
and nausea, weight loss, palpitations, headache, muscular pain and stiffness, a host of perceptual changes,
hallucinations, seizures, psychosis,!! and suicide!! (see "Signs and Symptoms" section below for full list).
Further, these symptoms are notable for the manner in which they wax and wane and vary in severity from
day to day or week by week instead of steadily decreasing in a straightforward monotonic manner!

It is a potentially serious condition, and is complex and often protracted in time course.!4I5] Long-term use,
defined as daily use for at least three months, |] is not desirable because of the associated increased risk of
dependence,!”] dose escalation, loss of efficacy, increased risk of accidents and falls, particularly for the
elderly, [8 as well as cognitive,!! neurological, and intellectual impairments. [10] Use of short-acting hypnotics,
while being effective at initiating sleep, worsen the second half of sleep due to withdrawal effects. [11]
Nevertheless, long-term users of benzodiazepines should not be forced to withdraw against their will. (4

Benzodiazepine withdrawal can be severe and can provoke life-threatening withdrawal symptoms, such as
seizures,l!2] particularly with abrupt or overly rapid dosage reduction from high doses or long time users./4] 4
severe withdrawal response can nevertheless occur despite gradual dose reduction, or from relatively low
doses in short time users,!!5] even after a single large dose in animal models.U4I'5] A minority of individuals
will experience a protracted withdrawal syndrome whose symptoms may persist at a sub-acute level for
months, or years after cessation of benzodiazepines. The likelihood of developing a protracted withdrawal
syndrome can be minimized by a slow, gradual reduction in dosage_!!6]

Chronic exposure to benzodiazepines causes neural adaptations that counteract the drug's effects, leading to
tolerance and dependence.!!7] Despite taking a constant therapeutic dose, long-term use of benzodiazepines
may lead to the emergence of withdrawal-like symptoms, particularly between doses.U8] When the drug is
discontinued or the dosage reduced, withdrawal symptoms may appear and remain until the body reverses
the physiological adaptations.!!9] These rebound symptoms may be identical to the symptoms for which the
drug was initially taken, or may be part of discontinuation symptoms.|29] In severe cases, the withdrawal
reaction may exacerbate or resemble serious psychiatric and medical conditions, such as mania,
schizophrenia, and, especially at high doses, seizure disorders.!2!) Failure to recognize discontinuation
symptoms can lead to false evidence for the need to take benzodiazepines, which in turn leads to withdrawal
failure and reinstatement of benzodiazepines, often to higher doses.?2!)

Awareness of the withdrawal reactions, individualized taper strategies according to withdrawal severity, the

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addition of alternative strategies such as reassurance and referral to benzodiazepine withdrawal support
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groups, all increase the success rate of withdrawal.7I73]

Contents

Signs and symptoms
Mechanism
Diagnosis
Prevention
Management
= 5.1 Medications and interactions
= 6 Prognosis
# 6.1 Withdrawal process
® 6.2 Duration
= 6.3 Protracted withdrawal syndrome
» 7 Epidemiology
» § Special populations
= 8.1 Pediatrics
# §.2 Pregnancy
# 8.3 The elderly
9 Inpatient treatment
10 See also
11 References
12 External links

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Signs and symptoms

Withdrawal effects caused by sedative-hypnotics discontinuation,
such as benzodiazepines, barbiturates, or alcohol, can cause serious
medical complications. They are cited to be more hazardous to
withdraw from than opioids.!241 Users typically receive little advice
and support for discontinuation.!2>] Some withdrawal symptoms are
identical to the symptoms for which the medication was originally
prescribed, 2"! and can be acute or protracted in duration, Onset of
symptoms from long half-life benzodiazepines might be delayed for
up to three weeks, although withdrawal symptoms from short-acting
ones often present early, usually within 2448 hours.!?6! There may
be no fundamental differences in symptoms from either high or low tablets, are commonly used in the
dose discontinuation, but symptoms tend to be more severe from treatment of benzodiazepine
higher doses.(771 withdrawal.

   

Diazepam, 2 mg and 5 mg diazepam

Daytime reemergence and rebound withdrawal symptoms. sometimes

called interdose withdrawal. may occur once dependence has set in. Reemergence is the return of symptoms
for which the drug was initially prescribed, in contrast, rebound symptoms are a return of the symptoms for
which the benzodiazepine was initially taken for, but at a more intense level than before. Withdrawal

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symptoms, on the other hand, may appear for the first time during
dose reduction, and include insomnia, anxiety. distress, weight loss,
panic, depression, derealization, and paranoia, and are more
commonly associated with short-acting benzodiazepines
discontinuation, like triazolam.!?778l Daytime symptoms can occur
after a few days to a few weeks of administration of nightly
benzodiazepine usel?9Il>°) or z-drugs such as zopiclone;!3!!
withdrawal-related insomnia rebounds worse than baseline?2/331
even when benzodiazepines are used intermittently B41

The following symptoms may emerge during gradual or abrupt
dosage reduction:

Aches and pains/?>]
Agitation and
restlessness!*5]

# Akathisia
# Anxiety, possible terror

and panic attacksl!J[5]
Blurred vision!?>]

Chest pain!
Depersonalization!34
Depression (can be
severe),|37] possible
suicidal ideation
Derealisation (feelings of
unreality)281

Diarrhea

Dilated pupils?!
Dizziness!?5]

Double vision

Dry mouth]
Dysphoria391l40]
Electric shock
sensations|4II41)
Elevation in blood
pressurel*?!

Fatigue and weaknessl

35]

= Flu-like symptoms!?5!
® gastrointestinal problems

(43][43][44]

Hearing impairment!?5]
Headachel!

Hot and cold spells!35)
Hyperosmial*5!
Hypertension!

Hypnagogia-
hallucinationsl!61
Hypochondriasis!?5)
Increased sensitivity to
touch]

Increased sensitivity to
soundbS]

Increased urinary
frequency!?>I
Indecision!)
Insomnial47]

Impaired concentration!!)
Impaired memory and
concentration!)

Loss of appetite and
weight lossl*8]

Metallic taste!**!

Mild to moderate
Aphasial*5]

Mood swings!351
Muscular spasms, cramps
or fasciculations!4?!
Nausea and vomiting
Nightmares!*7]
Numbness and tinglingl5!
Obsessive compulsive
disorderll5 4)
Paraesthesial38ll45]
Paranoial*>)

Perception that stationary
objects are moving!*)
Perspiration!!]
Photophobial*5!

Postural hypotension!*71

[47]

     

Chlordiazepoxide, 5 mg capsules, are
sometimes used as an alternative to
diazepam for benzodiazepine
withdrawal. Like diazepam, it has a
long elimination half-life and
long-acting active metabolites.

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= REM sleep reboundl*? = Taste and smell disturbances|?>
= Restless legs syndrome!! ® Tachycardial?)

« Sounds louder than usuall#] ® Tinnitus)!

® Stiffness!) « Tremor=ll5¢]

Visual disturbances

Rapid discontinuation may result in a more serious syndrome

= Catatonia. which may result in death!57IP8II59 # Neuroleptic malignant syndrome-like

= Confusion!©°l event! ll7!] (rare)

= Convulsions, which may result in death{6!I62] ® Organic brain syndromel”#I

= Comal] (rare) = Post-traumatic stress disorder!)

® Delirium tremens! [65165] « Psychosis! 731l741

® Delusions! = Suicidal ideation!”*!

= Hallucinations = Suicide!2l[27176]

. Hyperthermial*7] « Urges to shout, throw, break things or harm
=» homicidal ideation!®7] someonel5]

= Manial®8il6] * Violencel77]

As withdrawal progresses, patients often find their physical and mental health improves with improved mood
and improved cognition.

Mechanism

The neuroadaptive processes involved in tolerance, dependence, and withdrawal mechanisms implicate both
the GABAergic and the glutamatergic systems.!'7] Gamma-Aminobutyric acid (GABA) is the major
inhibitory neurotransmitter of the central nervous system; roughly one-quarter to one-third of synapses use
GABA.’8§] GABA mediates the influx of chloride ions through ligand-gated chloride channels called GABA,
receptors. When chloride enters the nerve cell, the cell membrane potential hyperpolarizes thereby inhibiting
depolarization, or reduction in the firing rate of the post-synaptic nerve cell.!7°! Benzodiazepine potentiates
the action of GABA,|®"l by binding a site between the a and y subunits of the 5-subunit receptor!8!! thereby
increasing the frequency of the GABA-gated chloride channel opening in the presence of GABA_|®]

When potentiation is sustained by long-term use, neuroadaptations occur which result in decreased
GABAergic response. What is certain is that surface GABA, receptor protein levels are altered in response
to benzodiazepine exposure, as is receptor turnover rate.83] The exact reason for the reduced responsiveness
has not been elucidated but down-regulation of the number of receptors has only been observed at some
receptor locations including in the pars reticulata of the substantia nigra; down-regulation of the number of
receptors or internalization does not appear to be the main mechanism at other locations.!*4] Evidence exists
for other hypotheses including changes in the receptor conformation, changes in turnover, recycling, or
production rates, degree of phosphorylation and receptor gene expression, subunit composition, decreased
coupling mechanisms between the GABA and benzodiazepine site. decrease in GABA production, and
compensatory increased gutamatergic activity,!'7Il83] 4 unified model hypothesis involves a combination of
internalization of the receptor, followed by preferential degradation of certain receptor sub-units, which
provides the nuclear activation for changes in receptor gene transcription.|#3]

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It has been postulated that when benzodiazepines are cleared from the brain, these neuroadaptations are
"unmasked", leading to unopposed excitability of the neuron.[85] Glutamate is the most abundant excitatory
neurotransmitter in the vertebrate nervous system.|841 Increased glutamate excitatory activity during
withdrawal may lead to sensitization or kindling of the CNS, possibly leading to worsening cognition and
symptomatology and making each subsequent withdrawal period worse.[87[881[8°) Those who have a prior
history of withdrawing from benzodiazepines are found to be less likely to succeed the next time around. [%]

Diagnosis

In severe cases, the withdrawal reaction or protracted withdrawal may exacerbate or resemble serious
psychiatric and medical conditions, such as mania, schizophrenia, agitated depression, panic disorder,
generalised anxiety disorder, and complex partial seizures and, especially at high doses, seizure disorders.!21]
Failure to recognize discontinuation symptoms can lead to false evidence for the need to take
benzodiazepines, which in turn leads to withdrawal failure and reinstatement of benzodiazepines, often to
higher doses. Pre-existing disorder or other causes typically do not improve, whereas symptoms of protracted
withdrawal gradually improve over the ensuing months.!?") For this reason at least six months should have
elapsed after benzodiazepines cessation before re-evaluating the symptoms and updating a diagnosis.

Symptoms may lack a psychological cause and can fluctuate in intensity with periods of good and bad days
until eventual recovery.O!1l92

Prevention

According to the British National Formulary, it is better to withdraw too slowly rather than too quickly from
benzodiazepines.!*5l The rate of dosage reduction is best carried out so as to minimize the symptoms'

intensity and severity. Anecdotally, a slow rate of reduction may reduce the risk of developing a severe
protracted syndrome.

Long half-life benzodiazepines like diazepam or chlordiazepoxide are preferred to minimize rebound effects
and are available in low potency dose forms. Some people may not fully stabilize between dose reductions,
even when the rate of reduction is slowed. Such people sometimes simply need to persist as they may not
feel better until they have been fully withdrawn from them for a period of time.!7]

Management

Psychological interventions may provide a small but significant additional benefit over gradual dose
reduction alone at post-cessation and at follow-up.I The psychological interventions studied were
relaxation training, cognitive-behavioral treatment of insomnia, and self-monitoring of consumption and
symptoms, goal-setting, management of withdrawal and coping with anxiety.

With sufficient motivation and the proper approach, almost anyone can successfully withdraw from
benzodiazepines. However, a prolonged and severe syndrome can lead to collapsed marriages, business
failures, bankruptcy, committal to a hospital, and the most serious adverse effect, suicide.] As such,
long-term users should not be forced to discontinue against their will. [4] Over-rapid withdrawal, lack of
explanation, and failure to reassure individuals that they are experiencing temporary withdrawal symptoms
led some people to experience increased panic and fears they are going mad, with some people developing a

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condition similar to post-traumatic stress disorder as a result. A slow withdrawal regimen, coupled with
reassurance from family, friends, and peers improves the outcome. |#IL'6]

Medications and interactions

While some substitutive pharmacotherapies may have promise. current evidence is insufficient to support
their use.!94] Some studies found that the abrupt substitution of substitutive pharmacotherapy was actually
less effective than gradual dose reduction alone, and only three studies found benefits of adding either
melatonin, (°°! paroxetine, !4 or trazodone and valproate!?7) in conjunction with a gradual dose reduction.!™'!

» Antipsychotics are generally ineffective for benzodiazepine withdrawal-related psychosis. 418)

Antipsychotics should be avoided during benzodiazepine withdrawal as they tend to aggravate
withdrawal symptoms, including convulsions. 761°I(!1001] Some antipsychotic agents may be more
risky during withdrawal than others, especially clozapine, olanzapine or low potency phenothiazines
(e.g., chlorpromazine), as they lower the seizure threshold and can worsen withdrawal effects: if used,
extreme caution is required.{!971

Barbiturates are cross tolerant to benzodiazepines and should be avoided.

Benzodiazepines or cross tolerant drugs should be avoided after discontinuation, even occasionally.
These include the nonbenzodiazepines Z-drugs. which have a similar mechanism of action. This is
because tolerance to benzodiazepines has been demonstrated to be still present at four months to two
years after withdrawal depending on personal biochemistry. Re-exposures to benzodiazepines typically
resulted in a reactivation of the tolerance and benzodiazepine withdrawal syndrome. |!93]L104]
Bupropion, which is used primarily as an antidepressant and smoking cessation aid, is contraindicated
in persons experiencing abrupt withdrawal from benzodiazepines or other sedative-hypnotics (e.g.
alcohol), due to an increased risk of seizures, !!

Buspirone augmentation was not found to increase the discontinuation success rate. [4

Caffeine may worsen withdrawal symptoms because of its stimulatory properties.!4] Interestingly, at
least one animal study has shown some modulation of the benzodiazepine site by caffeine, which
produces a lowering of seizure thresho 1d.{106]

Carbamazepine, an anticonvulsant, appears to have some beneficial effects in the treatment and
management of benzodiazepine withdrawal; however, research is limited and thus the ability of experts
to make recommendations on its use for benzodiazepine withdrawal is not possible at present.{!95I
Ethanol. the primary alcohol in alcoholic beverages, even mild to moderate use, has been found to be a
significant predictor of withdrawal failure, probably because of its cross tolerance with
benzodiazepines. 41[1031[107]

Flumazenil has been found to stimulate the reversal of tolerance and the normalization of receptor
function. However. further research is needed in the form of randomised trials to demonstrate its role
in the treatment of benzodiazepine withdrawal.!!98) Flumazenil stimulates the up-regulation and
reverses the uncoupling of benzodiazepine receptors to the GABAag receptor. thereby reversing
tolerance and reducing withdrawal symptoms and relapse rates.{!°ll!!0l Limited research and

experience and possible risks involved, the flumazenil detoxification method is controversial and can
only be done as an inpatient procedure under medical supervision.

Flumazenil was found to be more effective than placebo in reducing feelings of hostility and aggression

in patients who had been free of benzodiazepines for 4-266 weeks.!!''] This may suggest a role for
flumazenil in treating protracted benzodiazepine withdrawal symptoms.

A study into the effects of the benzodiazepine receptor antagonist, flumazenil, on benzodiazepine

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withdrawal symptoms persisting after withdrawal was carried out by Lader and Morton. Study subjects
had been benzodiazepine-free for between one month and five years, but all reported persisting
withdrawal effects to varying degrees. Persistent symptoms included clouded thinking, tiredness,
muscular symptoms such as neck tension, depersonalisation, cramps and shaking and the characteristic
perceptual symptoms of benzodiazepine withdrawal, namely. pins and needles feeling, burning skin,
pain and subjective sensations of bodily distortion. Therapy with 0.2—2 mg of flumazenil intravenously
was found to decrease these symptoms in a placebo-controlled study. This is of interest as
benzodiazepine receptor antagonists are neutral and have no clinical effects. The author of the study
suggested the most likely explanation is past benzodiazepine use and subsequent tolerance had locked
the conformation of the GABA-BZD receptor complex into an inverse agonist conformation, and the
antagonist flumazenil resets benzodiazepine receptors to their original sensitivity. Flumazenil was

found in this study to be a successful treatment for protracted benzodiazepine withdrawal syndrome.
but further research is required.|! 12] A study by Professor Borg in Sweden produced similar results in
patients suffering from protracted withdrawal.!> In 2007, Hoffmann-La Roche the makers of
flumazenil, acknowledged the existence of protracted benzodiazepine withdrawal syndromes, but did
not recommended flumazenil to treat the condition. 4]

Fluoroquinolone antibiotics!! !4JU151(116) have been noted by Heather Ashton and other authors as
increasing the incidence of a CNS toxicity from 1 to 4% in the general population, for benzodiazepine-
dependent population or in those undergoing withdrawal from them. This is probably the result of their
GABA antagonistic effects as they have been found to competitively displace benzodiazepines from
benzodiazepine receptor sites. This antagonism can precipitate acute withdrawal symptoms, that can
persist for weeks or months before subsiding. The symptoms include depression, anxiety, psychosis,
paranoia, severe insomnia, parathesia, tinnitus, hypersensitivity to light and sound, tremors, status
epilepticus, suicidal thoughts and suicide attempt. Fluoroquinolone antibiotics should be
contraindicated in patients who are dependent on or in benzodiazepine withdrawal, (410) 17101 18}1 19][120)
NSAIDs have some mild GABA antagonistic properties and animal research indicate that some may
even displace benzodiazepines from their binding site. However, NSAIDs taken in combination with
fluoroquinolones cause a very significant increase in GABA antagonism, GABA toxicity, seizures, and
other severe adverse effects. !!7!I!271[123]

Gabapentin can relieve most of the discomfort of benzodiazepine withdrawal; including anxiety,
insomnia, irritability, tremor and muscle spasms. However, gabapentin may give rise to Its own
withdrawal syndrome upon discontinuation if taken continuously for long periods.

Imidazenil has received some research for management of benzodiazepine withdrawal, but is not
currently used in withdrawal.{!4]

Imipramine was found to statistically increase the discontinuation success rate, [6]

Melatonin augmentation was found to statistically increase the discontinuation success rate for people
with insomnia.!6

Phenibut may help with the anxiety, insomnia and muscle tension brought on by benzodiazepine
discontinuation. However, there is a commonly known ‘rebound’ effect felt with Phenibut that may be
exacerbated for people in withdrawal, it is also not recommended to be taken for more than 3
consecutive days to avoid developing a dependency.

Phenobarbital, (a barbiturate), is used at "detox" or other inpatient facilities to prevent seizures during
rapid withdrawal or cold turkey. The phenobarbital is followed by a one- to two-week taper, although
a slow taper from phenobarbital is preferred.!?"] In a comparison study, a rapid taper using
benzodiazepines was found to be superior to a phenobarbital rapid taper.!!75Il!26]

Pregabalin may help reduce the severity of benzodiazepine withdrawal symptoms,!!27] and reduce the
risk of relapse.l78]

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Progesterone has been found to be ineffective for managing benzodiazepine withdrawal. [108]
Propranolol was not found to increase the discontinuation success rate.!]

SSRI antidepressants have been found to have little value in the treatment of benzodiazepine
withdrawal.!!29]

Tramadol has been found to lower the seizure threshold and should be avoided during benzodiazepine
withdrawal.

Trazodone was not found to increase the discontinuation success rate.!©

Prognosis

The success rate of a minimal intervention where rapid withdrawal is first tried, followed by a systematic
tapered discontinuation if the first try was unsuccessful, ranges from 25 to 100% with a median of 58%.|®1
Cognitive behavioral therapy was useful to improve success rates for panic disorder, melatonin for insomnia,
as was flumazenil and sodium valproate.{*! A ten-year follow-up found that more than half of those who had
successfully withdrawn from long-term use were still abstinent two years later, and that if they were able to
maintain this state at two years, they were likely to maintain this state at the ten-year followup.!*! One study
found that after one year of abstinence from long-term use of benzodiazepines, cognitive, neurological and
intellectual impairments had returned to normal.!!30]

Those who had a prior psychiatric diagnosis had a similar success rate from a gradual taper at a two-year
follow-up.931[!3!] Withdrawal from benzodiazepines did not lead to an increased use of antidepressants.!!97]

Withdrawal process

It can be too difficult to withdraw from short- or intermediate-acting benzodiazepines because of the
intensity of the rebound symptoms felt between doses. !4Il!331[341035] Moreover, short-acting
benzodiazepines appear to produce a more intense withdrawal syndrome.!!5¢l For this reason, discontinuation
is sometimes carried out by first substituting an equivalent dose of a short-acting benzodiazepine with a
longer-acting one like diazepam or chlordiazepoxide. Failure to use the correct equivalent amount can
precipitate a severe withdrawal reaction.!!37] Benzodiazepines with a half-life of more than 24 hours include
chlordiazepoxide, diazepam, clobazam, clonazepam, chlorazepinic acid, ketazolam, medazepam,
nordazepam, and prazepam. Benzodiazepines with a half-life of less than 24 hours include alprazolam,
bromazepam, brotizolam, flunitrazepam, loprazolam, lorazepam, lormetazepam, midazolam, nitrazepam,
oxazepam, and temazepam. [8] The resultant equivalent dose is then gradually reduced. The reduction rate
used in the Heather Ashton protocol calls for eliminating 10% of the remaining dose every two to four
weeks, depending on the severity and response to reductions with the final dose at 0.5 mg dose of diazepam
or 5 mg dose of chlordiazepoxide, |]

Duration

After the last dose has been taken, the acute phase of the withdrawal generally lasts for about two months.
Withdrawal symptoms, even from low-dose use, typically persist for six to twelve months and gradually

improve over that period, [271193] however, clinically significant withdrawal symptoms may persist for years,
although gradually declining.

A clinical trial of patients taking the benzodiazepine alprazolam for as short as eight weeks triggered
protracted symptoms of memory deficits which were still present up to eight weeks after cessation of

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alprazolam.!!38]

Protracted withdrawal syndrome

Protracted withdrawal syndrome refers to symptoms persisting for months or even years. A significant
minority of people withdrawing from benzodiazepines, perhaps 10 to 15%, experience a protracted
withdrawal syndrome which can sometimes be severe. Symptoms may include tinnitus, 54JU39) psychosis,
cognitive deficits, gastrointestinal complaints, insomnia, paraesthesia (tingling and numbness), pain (usually
in limbs and extremities), muscle pain, weakness, tension, painful tremor, shaking attacks, jerks, and
blepharospasm! and may occur even without a pre-existing history of these symptoms. Tinnitus occurring

during dose reduction or discontinuation of benzodiazepines is alleviated by recommencement of
benzodiazepines.

A study testing neuropsychological factors found psychophysiological markers differing from normals, and
concluded that protracted withdrawal syndrome was a genuine iatrogenic condition caused by the long-term
use.l/4] The causes of persisting symptoms are a combination of pharmacological factors such as persisting
drug induced receptor changes, psychological factors both caused by the‘drug and separate from the drug
and possibly in some cases, particularly high dose users, structural brain damage or structural neuronal
damage.!!6I[!41] Symptoms continue to improve over time, often to the point where people eventually resume
their normal lives, even after years of incapacity.[41

A slow withdrawal rate significantly reduces the risk of a protracted and/or severe withdrawal state.
Protracted withdrawal symptoms can be punctuated by periods of good days and bad days. When symptoms
increase periodically during protracted withdrawal, physiological changes may be present, including dilated
pupils as well as an increase in blood pressure and heart rate.'! The change in symptoms has been proposed
to be due to changes in receptor sensitivity for GABA during the process of tolerance reversal.|4] A
meta-analysis found cognitive impairments due to benzodiazepine use show improvements after six months
of withdrawal, but the remaining cognitive impairments may be permanent or may require more than six
months to reverse.{142]

Protracted symptoms continue to fade over a period of many months or several years. There is no known
cure for protracted benzodiazepine withdrawal syndrome except time,!!®l however, the medication
flumazenil was found to be more effective than placebo in reducing feelings of hostility and aggression in

patients who had been free of benzodiazepines for 4-266 weeks.!!!'] This may suggest a role for flumazenil
in treating protracted benzodiazepine withdrawal symptoms.

Epidemiology

The severity and length of the withdrawal syndrome is likely determined by various factors, including rate of

tapering, length of use and dosage size, and possible genetic factors.!#/['#3] Those who have a prior history of
withdrawing from benzodiazepines may have a sensitized or kindled central nervous system leading to

worsening cognition and symptomatology, and making each subsequent withdrawal period worse. |871[88]
[89][144]

Special populations

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Pediatrics

A neonatal withdrawal syndrome, sometimes severe, can occur when the mother had taken benzodiazepines,
especially during the third trimester. Symptoms include hypotonia, apnoeic spells, cyanosis, and impaired
metabolic responses to cold stress and seizures. The neonatal benzodiazepine withdrawal syndrome has been
reported to persist from hours to months after birth.[!451

A withdrawal syndrome is seen in about 20% of pediatric intensive care unit children after infusions with
benzodiazepines or opioids.!'4¢] The likelihood of having the syndrome correlates with total infusion duration
and dose, although duration is thought to be more important.!'47] Treatment for withdrawal usually involves
weaning over a 3- to 21-day period if the infusion lasted for more than a week.!!48] Symptoms include
tremors, agitation, sleeplessness, inconsolable crying, diarrhea and sweating. In total, over fifty withdrawal
symptoms are listed in this review article.!'46Il'49] Environmental measures aimed at easing the symptoms of
neonates with severe abstinence syndrome had little impact, but providing a quiet sleep environment helped
in mild cases.|!46]

Pregnancy

Discontinuing benzodiazepines or antidepressants abruptly due to concerns of teratogenic effects of the
medications has a high risk of causing serious complications, so is not recommended. For example, abrupt
withdrawal of benzodiazepines or antidepressants has a high risk of causing extreme withdrawal symptoms,
including suicidal ideation and a severe rebound effect of the return of the underlying disorder if present.
This can lead to hospitalisation and potentially, suicide. One study reported one-third of mothers who
suddenly discontinued or very rapidly tapered their medications became acutely suicidal due to ‘unbearable
symptoms’. One woman had a medical abortion, as she felt she could no longer cope, and another woman
used alcohol in a bid to combat the withdrawal symptoms from benzodiazepines. Spontaneous abortions may
also result from abrupt withdrawal of psychotropic medications, including benzodiazepines. The study
reported physicians generally are not aware of the severe consequences of abrupt withdrawal of
psychotropic medications such as benzodiazepines or antidepressants. |75]

The elderly

A study of the elderly who were benzodiazepine dependent found withdrawal could be carried out with few
complications and could lead to improvements in sleep and cognitive abilities. At 52 weeks after successful
withdrawal, a 22% improvement in cognitive status was found, as well as improved social functioning. Those
who remained on benzodiazepines experienced a 5% decline in cognitive abilities, which seemed to be faster
than that seen in normal aging, suggesting the longer the intake of benzodiazepines. the worse the cognitive
effects become. Some worsening of symptoms were seen in the first few months of benzodiazepine
abstinence, but at a 24-week followup, elderly subjects were clearly improved compared to those who
remained on benzodiazepines. Improvements in sleep were seen at the 24- and 52-week followups. The
authors concluded benzodiazepines were not effective in the long term for sleep problems except in
suppressing withdrawal-related rebound insomnia. Improvements were seen between 24 and 52 weeks after
withdrawal in many factors, including improved sleep and several cognitive and performance abilities. Some
cognitive abilities, which are sensitive to benzodiazepines, as well as age, such as episodic memory did not
improve. The authors, however, cited a study in younger patients who at a 3.5-year followup showed no
memory impairments and speculated that certain memory functions take longer to recover from chronic
benzodiazepine use and further improvements in elderly people's cognitive function may occur beyond 52
weeks after withdrawal. The reason it took 24 weeks for improvements to be seen after cessation of

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benzodiazepine use was due to the time it takes the brain to adapt to the benzodiazepine-free
environment.!!90]

At 24 weeks, significant improvements were found, including accuracy of information processing improved,
but a decline was seen in those who remained on benzodiazepines. Further improvements were noted at the
52-week followup, indicating ongoing improvements with benzodiazepine abstinence. Younger people on
benzodiazepines also experience cognitive deterioration in visual spatial memory, but are not as vulnerable as
the elderly to the cognitive effects.{!>°!

Improved reaction times were noted at 52 weeks in elderly patients free from benzodiazepines. This is an
important function in the elderly, especially if they drive a car due to the increased risk of road traffic
accidents in benzodiazepine users. [150]

At the 24-week followup, 80% of people had successfully withdrawn from benzodiazepines. Part of the
success was attributed to the placebo method used for part of the trial which broke the psychological
dependence on benzodiazepines when the elderly patients realised they had completed their gradual
reduction several weeks previously, and had only been taking placebo tablets. This helped reassure them
they could sleep without their pills.!!52

The authors also warned of the similarities in pharmacology and mechanism of action of the newer
nonbenzodiazepine Z drugs.!!*0!

The elimination half-life of diazepam and chlordiazepoxide, as well as other long half-life benzodiazepines, is
twice as long in the elderly compared to younger individuals. Many doctors do not adjust benzodiazepine
dosage according to age in elderly patients.{'5!]

Inpatient treatment

[Inpatient drug detox and/or rehabilitation facilities may be inappropriate for those who have become tolerant
or dependent while taking the drug as prescribed. as opposed to recreational use. Such inpatient referrals may
be traumatic for non-abusers.!?!

See also
# Alcohol withdrawal syndrome » Physical dependence
= Benzodiazepine dependence » Post-acute-withdrawal syndrome
= Benzodiazepine equivalence = Rebound effect
® Opioid withdrawal syndrome # SSRI discontinuation syndrome

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thousand patients for alcohol and drug problems
and have detoxed approximately 1,500 patients for
benzodiazepines — the detox for the
benzodiazepines is one of the hardest detoxes we
do. It can take an extremely long time, about half
the length of time they have been addicted — the
ongoing relentless withdrawals can be so
incapacitating it can cause total destruction to
one’s life —marriages break up, businesses are
lost, bankruptcy, hospitalization, and of course
suicide is probably the most single serious side
effect."

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External links

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visits to see if the medicine is working properly and to allow for
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baby. Use an effective form of birth control to keep from getting
pregnant. If you think you have become pregnant while using the
medicine, tell your doctor right away.

This medicine may cause drowsiness, trouble with thinking,
trouble with controlling movements, or trouble with seeing clearly.
Make sure you know how you react to this medicine before you
drive, use machines, or do anything else that could be dangerous
if you are not alert or able to think or see.well.

This medicine may cause some people to be agitated, irritable, or
display other abnormal behaviors. It may also cause some people
to have suicidal thoughts and tendencies or to become more
depressed. |f you or your caregiver notice any of these unwanted
effects, tell your doctor right away.

If you have been taking this medicine for a long time, do not stop
taking it without checking first with your doctor, Your doctor may
want you to gradually reduce the amount you are using before
stopping it completely. This may help prevent worsening of your
condition and reduce the possibility of withdrawal symptoms, such
as seizures, hallucinations, stomach or muscle cramps, tremors,
or unusual behavior.

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This medicine will add to the effects of alcohol and other central
nervous system (CNS) depressants (medicines that make you
drowsy or less alert). Some examples of CNS depressants are
antihistamines or medicine for allergies or colds, sedatives,
tranquilizers, or sleeping medicine, prescription pain medicine or
narcotics, barbiturates (used for seizures), muscle relaxants, or
anesthetics (numbing medicines), including some dental
anesthetics. Check with your doctor before taking any of these
products while you are using this medicine

Do not take other medicines unless they have been discussed
with your doctor. This includes prescription or nonprescription
(over-the-counter [OTC]) medicines and herbal or vitamin

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Drugs and Supplements

 

Clonazepam (Oral Route)

 

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Using this medicine while you are pregnant can harm your unborn baby. Use an effective form
of birth control to keep from getting pregnant. If you think you have become pregnant while
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This medicine may cause drowsiness, trouble with thinking, trouble with controlling movements,
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with your doctor. Your doctor may want you to gradually reduce the amount you are using
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depressants (medicines that make you drowsy or less alert). Some examples of CNS depressants
are antihistamines or medicine for allergies or colds, sedatives, tranquilizers, or sleeping
medicine, prescription pain medicine or narcotics, barbiturates (used for seizures), muscle
relaxants, or anesthetics (numbing medicines), including some dental anesthetics. Check with
your doctor before taking any of these products while you are using this medicine.

Do not take other medicines unless they have been discussed with your doctor. This includes

prescription or nonprescription (over-the-counter [OTC]) medicines and herbal or vitamin
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e Proper Use
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Alprazolam (Oral Route)

 

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Each tablet of Xanax contains 0.25, 0.5, 1, or 2 milligrams (mg) of alprazolam. In general, higher
doses will take longer for your body to fully metabolize.

The total length of time you’ve been taking Xanax will also affect how long the effects last in
your body. People who have been taking Xanax on a regular basis will consistently maintain a
higher concentration in their bloodstream. It will take longer to fully eliminate all of the Xanax
from your body, though you may not necessarily “feel” the sedative effects for longer because
you've built up a tolerance to the medication.

Other medications

Xanax is cleared by your body through a pathway known as cytochrome P450 3A (CYP3A).
Drugs that inhibit CYP3A4 make it more difficult for your body to break down Xanax. This
means that the effects of Xanax will last longer.

Medications that increase the time it takes for Xanax to leave the body include:

azole antifungal agents, including ketoconazole and itraconazole
nefazodone (Serzone), an antidepressant

fluvoxamine, a drug used to treat obsessive-compulsive disorder (OCD)
macrolide antibiotics such as erythromycin and clarithromycin
cimetidine (Tagamet), for heartburn

propoxyphene, an opioid pain medication

oral contraceptives (birth control pills)

 

On the other hand, certain medications help to induce, or speed up the process, of CYP3A. These
medications will make your body break down Xanax even faster. An example is the seizure
medication carbamazepine (Tegretol) and an herbal remedy known as St. John’s wort.

Alcohol use

Alcohol and Xanax taken in combination have a synergistic effect on one another. This means
that the effects of Xanax are increased if you consume alcohol. It will take longer to clear Xanax
from your body. Combining alcohol with Xanax can lead to danverous side effects, including the
possibility of a fatal overdose.

Withdrawal symptoms

You shouldn't stop taking Xanax abruptly without consulting your doctor because you can have
serious withdrawal symptoms. These may include:

* mild dysphoria (feeling uneasy and restless)
* an inability to sleep

* muscle cramps

* vomiting

* sweating
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e tremors
e convulsions
e hallucinations

Instead, the dosage should be reduced gradually over time to prevent withdrawal. This is called
tapering. It’s suggested that the daily dosage is decreased by no more than 0.5 my every three
days.

For panic disorders, the dosage of Xanax is often greater than 4 mg per day. This can lead to
severe physical and emotional dependence and make it much more difficult to taper treatment.
Your doctor will help you discontinue Xanax in a careful and safe way.

Takeaway

Xanax should fully clear the body in less than four days for most healthy individuals. However,
there are a number of factors that could alter the time it takes for Xanax to clear the body,
including age, race, weight, and dose.

If you’ ve been prescribed Xanax, make sure your doctor knows what other medications and
supplements you’re taking. Only take your prescribed dose of Xanax, even if you think the
medication isn’t working anymore. High doses can cause dangerous side effects. It’s also

possible to overdose on Xanax, especially if it’s taken with alcohol or in conjunction with opioid
pain medications.

Although they’re prescription drugs, benzodiazepines such as Xanax have been associated with
serious health issues, especially when it’s taken long term. It’s important to only stop taking

Xanax under your doctor’s supervision. The withdrawal process can be dangerous without
medical help.

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How Long Does Xanax Last?

Alprazolam, more commonly known by its brand name, Xanax. is a medication indicated to treat
anxiety and panic disorders. Xanax is ina class of medications known as benzodiavepines. It's
considered a mild tranquilizer.

 

Xanax helps to calm the nerves and induces a feeling of relaxation, In high doses, however, it has

the potential to be abused and can lead to dependence (addiction). For this reason, it’s classified
as a federal controlled substance (C-[V).

If you're new to taking Xanax, you may be wondering how long the effects will last in your
body, factors that might influence how long Xanax stays in your system, and what to do if you
decide to stop taking it.

How long does it take to feel the effects of Xanax?

Xanax is taken by mouth and is readily absorbed into the bloodstream. You should start feeling
the effects of Xanax in underan hour, The medication reaches peak concentrations in the
bloodstream in one to two hours following ingestion.

People who take Xanax will often build up a tolerance. For these people, it may take longer to
feel the sedative effects of Xanax or the sedation may not feel as strong.

How long does it take for the effects of Xanax to wear off?

One way to find out how long a drug will last in the body is to measure its half-life. The half-life
is the time it takes for half of the drug to be eliminated from the body.

Xanax has an average half-life of roughly |) hours in healthy adults. In other words, it takes 11
hours for the average healthy person to eliminate half of the dose of Xanax. However, it’s
important to note that everyone metabolizes medications differently, so the half-life will vary
from person to person. Studies have shown that the half-life of Xanax ranges from 6.3 to 26.9
hours, depending on the person.

 

It takes several half-lives to fully eliminate a drug, For most people, Xanax will fully clear their
body within two to four days. But you will stop “feeling” the sedative effects of Xanax before
the drug has actually fully cleared your body. This is why you may be prescribed Xanax up to
three times per day.
 

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Factors that influence how long the effects of Xanax last

A number of factors can influence the time it takes for Xanax to clear the body. These include:

age

weight

race

metabolism

liver function

how long you've been taking Xanax
dosage

other medications

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There's no difference in the average half-life between men and women.
Age
The half-life of Xanax is higher in elderly people. Studies have found that the average half-life is

16.3 hours in healthy elderly people, compared to an average half-life of roughly 11 hours in
younger, healthy adults.

Weight
For obese individuals, it may be more difficult for your body to break down Xanax. The half-life

of Xanax in people who are obese is higher than average. It ranged between 9.9 and 40.4 hours,
with an average of 21.8 hours.

Ethnicity

Studies have found that the half-life of Xanax is increased by 25 percent in Asians compared to
Caucasians.

Metabolism

A higher basal metabolic rate may decrease the time it takes for Xanax to leave the body. People
who exercise regularly or have faster metabolisms may be able to excrete Xanax faster than
people who are sedentary.

Liver function

li takes longer for people with alcoholic liver diseise to break down, or metabolize. Xanax. On
average, the half-life of Xanax in people with this liver problem is 10.7 huurs.

Dosage
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Bipolar disorder, which used to be called manic depressive illness or manic depression, is a
mental disorder characterized by wide mood swings from high (manic) to low (depressed).

 

Periods of high or irritable mood are called manic episodes. The person becomes very active, but
in a scattered and unproductive way, sometimes with painful or embarrassing consequences.
Examples are spending more money than is wise or getting involved in sexual adventures that
are regretted later. A person in a manic state is full of energy or very irritable, may sleep far less
than normal, and may dream up grand plans that could never be carried out. The person may
develop thinking that is out of step with reality -- psychotic symptoms -- such as false beliefs
(delusions) or false perceptions (hallucinations). During manic periods, a person may run into
trouble with the law. If a person has milder symptoms of mania and does not have psychotic
symptoms, it is called "hypomania" or a hypomanic episode.

The expert view of bipolar disorder will continue to evolve. but it is now commonly divided into

two subtypes (bipolar [ and bipolar II) based on the dividing line between mania and hypomania
described above.

¢ Bipolar I disorder is the classic form where a person has had at least one manic episode.
¢ In bipolar II disorder, the person has never had a manic episode, but has had at least one
hypomanic episode and at least one period of significant depression.

Most people who have manic episodes also experience periods of depression. In fact, there is
some evidence that the depression phase is much more common than periods of mania in this
illness. Bipolar depression can be much more distressing than mania and. because of the risk of
suicide, is potentially more dangerous.

A disorder that is classified separately. but is closely related to bipolar disorder, is cyclothymia.
People with this disorder fluctuate between hypomania and mild or moderate depression without
ever developing a full manic or depressive episode.

Some people with bipolar disorder switch frequently or rapidly between manic and depressive
symptoms, a pattern that is often called "rapid cycling.” If manic and depressive symptoms
overlap for a period, it is called a "mixed" episode. During such periods, it may be difficult to tell
which mood -- depression or mania -- is more prominent.
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People who have had one manic episode most likely will have others if they do not seek
treatment. The illness tends fo run in families. Unlike depression, in which women are more
frequently diagnosed, bipolar disorder happens nearly equally in men and women.

Since bipolar disorder can come in so many forms, it is difficult to determine its prevalence.
Depending on how they define the disorder, researchers estimate that bipolar disorder occurs in

up to 4% of the population. When a particularly broad definition is used, the estimate can be
even higher.

The most important risk of this illness ts the risk of suicide. People who have bipolar disorder are
also more‘likely to abuse alcohol or other substances.

Symptoms
During the manic phase, symptoms can include:

e High level of energy and activity

e Irritable mood

* Decreased need for sleep

¢« Exaggerated, puffed-up self-esteem ("grandiosity")

e Rapid or "pressured" speech

« Rapid thoughts

« Tendency to be easily distracted

« Increased recklessness

e False beliefs (delusions) or false perceptions (hallucinations)

During elated moods, a person may have delusions of grandeur, while irritable moods are often
accompanied by paranoid or suspicious feelings.

During a depressive period, symptoms may include:

e Distinctly low or irntable mood

e Loss of interest or pleasure

e [Eating more or less than normal

e Gaining or losing weight

Sleeping more or less than normal
Appearing slowed or agitated
Fatigue and loss of energy
Feeling worthless or guilty

Poor concentration

Indecisiveness

Thoughts of death, suicide attempts or plans

Diagnosis
 

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Since there are no medical tests to establish this diagnosis, a mental health professional
diagnoses bipolar disorder based on a person's history and symptoms. The diagnosis is based not
just on the current symptoms, but also take into account the problems and symptoms that have
occurred through a person's life.

People with bipolar disorder are more likely to seek help when they are depressed than when
manic or hypomanic. It is important to tell your doctor about any history of manic symptoms
(like those described above). If a doctor prescribes an antidepressant for a person with such a
history, the antidepressant could trigger a manic episode.

Because medications and other illnesses can cause symptoms of mania and depression, a
psychiatrist and primary care physician must sometimes work together with other mental health

professionals to evaluate the problem. For example. the course of the illness can be affected by
steroid treatment or a thyroid problem.

Expected Duration

If left untreated, a first episode of mania lasts an average of two to four months and a depressive
episode up to eight months or longer, but there can be many variations. If the person does not get
treatment, episodes tend to become more frequent and last longer as time passes.

Prevention

There is no way to prevent bipolar disorder, but treatment can prevent manic and depressive
episodes or at least reduce their intensity or frequency. Also, if you are able to talk to your health
care provider as early as you can about milder forms of the disorder, you may be able to ward off
more severe forms. Unfortunately, worries about stigma often stop people from mentioning their
concerns to their primary care doctor or other caregiver.

Treatment

A combination of medication and talk therapy is most helpful. Often more than one medication is
needed to keep the symptoms in check.

Mood Stabilizers

lhe best-known and oldest mood stabilizer is |jthium carbonate, which can reduce the symptoms
of mania and prevent them from returning, Although it is one of the oldest medicines used in
psychiatry, and although many other drugs have been introduced in the meantime, much
evidence shows that it is still the most effective of the available treatments.

Lithium also may reduce the risk of suicide.

If you take lithium, you have to have periodic blood tests to make sure the dose is high enough,
but not too high. Side effects include nausea, diarrhea, frequent urination. tremor (shaking) and
 

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diminished mental sharpness. Lithium can cause some minor changes in tests that show how well
your thyroid, kidney and heart are functioning. These changes are usually not serious, but your
doctor will want to know what your blood tests show before you start taking lithium. You will

have to get an electrocardiogram (EKG), thyroid and kidney function tests, and a blood test to
count your white blood cells.

For many years, antiseizure medications (also called "anticonvulsants") have also been used to
treat bipolar disorder. The most common in use are valproic acid (Depakote) and lamotrigine
(Lamictal). A doctor may also recommend treatment with other antiseizure medications —
gabapentin (Neurontin), topiramate (lopamax), or oxcarbazepine ( Trileptal).
 

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Xanax

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Medically reviewed on September 28, 2016.

e Overview

e §6Side Effects

e Dosage

e Professional

e Tips

e = Interactions
More

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What is Xanax?

Xanax (alprazolam) ts a benzodiazepine (ben-zoe-dye-AZE-eh-peen). Alprazolam affects
chemicals in the brain that may be unbalanced in people with anxiety.

Xanax is used to treat anxiciv disorders, panic disorders, and anxiety caused by depression.

Xanax may also be used for purposes not listed in this medication guide.

   

Slideshow
Nanax: 12 Things You Should Know

Important information

You should not use Xanax if you have narrow-angle v!aueoma, if you also take itraconazole or

ketoconazole, or if you are allergic to Xanax or similar medicines (Valium, Ativan, Tranxene,
and others).

 

Do not use Xanax if you are pregnant. This medicine can cause birth defects or life-threatening
withdrawal symptoms in a newborn.

Alprazolam may be habit-forming. Misuse of habit-forming medicine can cause addiction,
overdose, or death.

Do not drink alcohol while taking Xanax, This medication can increase the effects of alcohol.
Alprazolam may be habit-forming and should be used only by the person for whom it was
prescribed. Keep the medication in a secure place where others cannot get to it.

Before taking this medicine

It is dangerous to purchase Xanax on the Internet or from vendors outside the United States.
Medications distributed from Internet sales may contain dangerous ingredients, or may not be
distributed by a licensed pharmacy. The sale and distribution of Xanax outside the U.S. does not
comply with the regulations of the Food and Drug Administration (FDA) for the safe use of this
medication.
 

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You should not take Xanax if you have:

e narrow-angle glaucoma:

¢ if you are also taking itraconazole or ketoconazole; or

¢ if you are allergic to alprazolam or to other benzodiazepines, such as chlordiazepoxide
(Librium), clorazepate (Tranxene), diazepam (Valium), lorazepam (Ativan), or oxazepam
(Serax).

To make sure Xanax is safe for you, tell your doctor if you have:

* seizures or epilepsy:

¢ kidney or liver disease (especially alcoholic liver disease):
e asthma or other breathing disorder;

* open-angle glaucoma;

« ahistory of depression or suicidal thoughts or behavior;

e ahistory of drug or alcohol addiction; or

e if you also use a narcotic (opioid) medication.

Do not use Xanax if you are pregnant. This medicine can cause birth defects. Your baby could
also become dependent on the drug. This can cause life-threatening withdrawal symptoms in
the baby after it is born. Babies born dependent on habit-forming medicine may need medical
treatment for several weeks. Tell your doctor if you are pregnant or plan to become pregnant.
Use effective birth control to prevent pregnancy while you are taking Xanax.

Alprazolam can pass into breast milk and may harm a nursing baby. You should not breast-feed
while you are using Xanax.

The sedative effects of Xanax may last longer in older adults. Accidental falls are common in
elderly patients who take benzodiazepines. Use caution to avoid falling or accidental injury while
you are taking Xanax.

Xanax is not approved for use by anyone younger than 18 years old.

How should I take Xanax?

Take Xanax exactly as prescribed by your doctor. Follow all directions on your prescription
label. Never use alprazolam in larger amounts, or for longer than prescribed. Tell your doctor if
the medicine seems to stop working as well in treating your symptoms.

Alprazolam may be habit-forming. Never share Xanax with another person, especially

someone with a history of drug abuse or addiction. Keep the medication in a place where
others cannot get to it.

Misuse of habit-forming medicine can cause addiction, overdose, or death. Selling or giving
away this medicine is against the law.
 

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Do not crush, chew, or break a Xanax extended-release tablet. Swallow the tablet whole.

Call your doctor if this medicine seems to stop working as well in treating your panic or anxiety
symptoms.

Do not stop using Xanax suddenly, or you could have unpleasant withdrawal symptoms. Ask
your doctor how to safely stop using this medicine.

If you use this medicine long-term, you may need frequent medical tests.
Store Xanax at room temperature away from moisture and heat.

Keep track of the amount of medicine used from each new bottle. Xanax is a drug of abuse and
you should be aware if anyone is using your medicine improperly or without a prescription.

See also: Dosave Information (in more detail)

What happens if I miss a dose?

Take the missed dose as soon as you remember. Skip the missed dose if it is almost time for your
next scheduled dose. Do not take extra medicine to make up the missed dose.

What happens if I overdose?
' Seek emergency medical attention or call the Poison Help line at 1-800-222-1222. An overdose

of alprazolam can be fatai. Overdose symptoms may include extreme drowsiness, confusion,
muscle weakness, loss of balance or coordination, feeling light-headed, and fainting.

What should I avoid while taking Xanax?

Xanax may impair your thinking or reactions. Be careful if you drive or do anything that requires
you to be alert.

Avoid drinking alcohol. Dangerous side effects could occur.

Grapefruit and grapefruit juice may interact with alprazolam and lead to unwanted side effects.
Discuss the use of grapefruit products with your doctor.

Xanax side effects

Get emergency medical help if you have signs of an allergic reaction to Xanax: hives: difficult
breathing; swelling of your face, lips, tongue, or throat.

Call your doctor at once if you have:
_ Case: 1:14-cv-04854 Document #: 138 Filed: 06/19/18 Page 62 of 101 PagelD #:424

depressed mood, thoughts of suicide or hurting yourself;

racing thoughts, increased energy, unusual risk-taking behavior;
confusion, agitation, hostility, hallucinations;

uncontrolled muscle movements, tremor, seizure (convulsions); or
pounding heartbeats or fluttering in your chest.

Common Xanax side effects may include:

« drowsiness, feeling tired;

* slurred speech, lack of balance or coordination:
« memory problems: or

e feeling anxious early in the morning.

This is not a complete list of side effects and others may occur. Cali your doctor for medical
advice about side effects. You may report side effects to FDA at 1-800-FDA-1088.

See also: Side effects (in more detail)

Xanax dosing information
Usual Adult Dose of Xanax for Anxiety:

Immediate-release tablets, orally disintegrating tablets, oral concentrate:

Initial dose: 0.25 to 0.5 mg orally 3 times a day

This dose may be gradually increased every 3 to 4 days if needed and tolerated.
Maintenance dose: May increase up to maximum daily dose of 4 mg in divided doses

Usual Adult Dose for Panie Disorder:

Immediate-release tablets, orally disintegrating tablets:

Initial dose: 0.5 mg orally 3 times a day

This dose may be gradually increased every 3 to 4 days if needed and tolerated.
Maintenance dose: | to 10 mg per day in divided doses

Mean dose employed: 5 to 6 mg per day in divided doses

Extended-release tablets:
Initial dose: 0.5 to 1 mg once a day

The daily dose may be gradually increased by no more than | mg every 3 to 4 days if needed and
tolerated.

Maintenance dose: | to 10 mg once a day
Mean dose employed: 3 to 6 mg once a day

Usual Adult Dose of Xanax for Depression:

Immediate-release tablets, orally disintegrating tablets, oral concentrate:
Initial dose: 0.5 mg orally 3 times a day
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The daily dose may be gradually increased by no more than | mg every 3 to 4 days

Average Dose: Studies on the use of alprazolam for the treatment of depression have reported an
average effective dose of 3 mg orally daily in divided doses

Maximum Dose: Studies on the use of alprazolam for the treatment of depression have reported
to have used 4.5 mg orally daily in divided doses as a maximum.

Usual Geriatric Dose for Anxiety:

Immediate-release tablets, orally disintegrating tablets, oral concentrate:
Initial dose: 0.25 mg orally 2 to 3 times a day in elderly or debilitated patients
This dose may be gradually increased if needed and tolerated.

Because of increased sensitivity to benzodiazepines in elderly patients, alprazolam at daily doses
greater than 2 mg meets the Beers criteria as a medication that is potentially inappropriate for use
in older adults. Smaller doses may be effective as well as safer. Total daily doses should rarely
exceed suggested maximums.

Usual Geriatric Dose for Depression:

Immediate-release tablets, orally disintegrating tablets, oral concentrate:
Initial dose: 0.25 mg orally 2 to 3 times a day in elderly or debilitated patients
This dose may be gradually increased if needed and tolerated.

Because of increased sensitivity to benzodiazepines in elderly patients, alprazolam at daily doses
greater than 2 mg meets the Beers criteria as a medication that is potentially inappropriate for use
in older adults. Smaller doses may be effective as well as safer. Total daily doses should rarely
exceed suggested maximums.

Usual Geriatric Dose for Panic Disorder:

Immediate-release tablets, orally disintegrating tablets:
Initial dose: 0.25 mg orally 2 to 3 times a day in elderly or debilitated patients
This dose may be gradually increased if needed and tolerated.

Extended-release tablets:
Initial dose: 0.5 mg once a day preferably in the morning
This dose may be gradually increased if needed and tolerated.

Because of increased sensitivity to benzodiazepines in elderly patients, alprazolam at daily doses
vreater than 2 mg meets the Beers criteria as a medication that is potentially inappropriate for use
in older adults. Smaller doses may be effective as well as safer. Total daily doses should rarely
exceed suggested maximums.

 
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PEOPLE OF THE.STATE-OF ILLINOIS

ecte é: Supervision - Conditional Discharge - Probation

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EXte 6

(3/06/07) CCCR NO90 A

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

‘SX Criminal Division A Municipal District No. na Br/iRm_ 2) Ff
or ite

 

r

A Municipal Carpets

Avdalo, Anthony

 

caseno:_ |] CR |S 240
Statute Citation: Qa q Du |
AY50UF5

IRNo._ | _SIDNo.

SENTENCING ORDER
SUPERVISION - CONDITIONAL DISCHARGE - ¥ROBATION >

IT IS HEREBY ORDERED that the defendant is sentenced to a term of

O Supervision O Conditional Discharge

IS (Year(s) jf Month(s) ODay(s)

Q Probation (720 ILCS 550/10, 720 ILCS 570/410, or 720 ILCS 646/70) Q Probation

“pERerornnc (All DUI orders are reporting) O) Non-Rerortinc C1. Limrrep Rerortinc (Monitor community service or restitution only)

( Scheduled Termination Date

IT IS FURTHER ORDERED that the defendant shall comply with the conditions as specified below:

Wf. Ifreporting is ordered, the defendant shall report immediately
to:
Q Social Service Department for Scciditoral dischtarg:
supervisien/community:service and pay that department

such sum as determinéd by that department in accordance
with the standard probation fee guide. Said fee not to
exceed $50. 00 per month.

“sf Adult Probation Department for probation/community
service, comply with Adult Probation’s rules and regulations
and pay that department such-sum as determined by that
department in accordance with the standard probation fee
guide. Said fee not to exceed $50.00 per month.

wa Pay all fines, costs, fees, assessments, reimbursements and
restitution (if applicable) -

Wf Not violate the criminal statute of any jurisdiction

Wf Refrain from possessing a firearm or other dangerous weapons’

i Notify monitoring agency of change of address

Wf Not leave the State of Illinois without the consent of the court
or monitoring agency -

a Comply with reporting and treatment aquaements as
determined by the Adult Probation Department assessment.
Any treatment requirements not specified elsewhere on this
order that would cause a financial hardship shall be reviewed
by the court beforé being imposed.

D f DCO

Q Complete drug/alcohol evaluation aid teetment
recommendation

QO Submit to random drug testing

Q Adult Probation Department Intensive Drug Program

Q Complete TASC Treatment Program

ATED C IT
a ao ei Classified-Level A, report jcamnediaisly. to +
Institute of Addictions and commence the
following intervention program within 60 days of this order:
QO Minimum O) Moderate O Significant
4 DUI Offenders Classified Level B or C, report iimimediately:
to: O The Social Service Department,
i The Adult Probation Department
and complete a Comprehensive Correctional: Intervention
Assessment within 30 days, fully comply with the Compre-
hensive Intervention Plan and commence the following
intervention program within 60 days ofthis order: -
QO Minimum O Moderate >Si Significant - O High
i Attend a Victim Impact Panel
-O File proof of financial responsibility with the Secretary of State
Q) Surrender driver’s license to the Clerk of the Court
QO) Pay all driver’s license reinstatement fees

 

SPECIAL CONDITIONS

QO Obtain a GED

CY Home Confinement days

QO) Adult Probation Department Intensive Probate
Supervision —

BH Perform {OO hours of a community service as directed

by the

Q Social Service Department Community Setvice Program
C) Sheriff's Work Altemative Program (773) 869-3686
¥ Adult Probation Department

QO Avoid contact with

 

O1 Complete mental health evaluation and treatment
recommendations

QO} Adult Probation Department Mental Health Unit

QO) Adult Probation Department Gang Unit

‘QYDNA Indexing
 

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; (1/05/04) CCCR NOOO B
Nee - ice is2420
Dow SHC VIOLENCE RELATED CONDITIONS SEX OFFENDERS CONDITIONS
Q Comply with all lawful court orders including an Order of C1 Complete evaluation and treaunent recommendation for sex
Protection offenders
C} Complete Domestic Violence Program: Cl Register as a sex offender ~
Q) Defendants sentenced to Probation, as directed by Adult QO STDMIV Testing
Probation QJ Adult Probation Department Sex Offender Program
C1 Defendants sentenced to Conditional Discharge or UO DNA Testing

Supervision will complete domestic violence counseling
and any other recommendations per the assessment of the RESTITUTION

 

 

Social Service Department, which may include an 1 Make restitution to

evaluation and/or treatment for alcohol and drug abuse, in the amount of $ payable through the

mental health, parenting, and sexual abuse. Social Service Department or Adult Probation Departmentat the rate
C) Modifications, which would impose a financial hardship shall of §

per with final payment due on or

 

be reviewed by the sentencing court before so ordered. before

YK ome IO days €CDOC As required bu stthute,
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1 acknowledge receipt of this Order and agree to abide by the specified conditions. I agree to accept notice by regular mail at the

address provided to the monitoring agency and to answer questions asked by the Court related to my behavior. I understand that
a failure to comply with the conditions of this order, or refusal ta participate, or withdrawal or discharge from a required program,
plan, or testing will be considered a violation of this Order and will b

€ reported to the Court; and may result in a re-sentencing
imposing the maximum penalty as provided for the offense.

 

 

 

 

 

 

f : “3 ne / hy WV ye f
{731 LECGLRM Kies fe
(Defendant’s Address) (City/Town) (State/Zip)
ome g nm =F aT af) TNA
(Y= 5 CFE fs
(Defendant's. Date of Birth) (Defendant’s Telephone Number) z= (Defendant’s Signature)

 

 

 

 

 

 

Dated: Prepared by
ENTERED:
Dated: L/z7 , FOjlZ 1
“CE. LL
Judge Judge’s No.

Note: Bold print specifications require additional written orders

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

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EXvT

Law Offices of Kent R. Brody

29 S. LaSalle Street, Suite 328

Chicago, Illinois 60603 Telephone: 312 263 4600
Fax: 312 263 9838
cellphone 708.744.1301

Email: k.brody@brodygorelaw.com

June 27, 2013
re: Anthony Avado a/k/s/ Cesary Wojcik

Cermak Memorial Hospital
Cook County Department of Corrections
By Fax

The above listed individual, ANTHONY AVADO A/K/A CESARY WOJCIK has
been sentenced today to 10 days in the Cook County Department of Corrections,
with credit for 1 day already served.

Attached is a copy of the Court Order accompanying his mittimus listing the
medications he is presently prescribed. As this individual has a history of seizure
disorder, diabetes, and depression among other things, it is very important that he
receive this medication in a timely fashion while he is in your custody.

Thank you for your attention to this matter.
 

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MEDICAL EXPENSES Page |

Patient : Wojcik Pharmacy: Osco Drug #3477
Cezar 4734 N. Pueblo Exe
RespPty : Chicago, IL 60656
2131 N Harlem Ave RPh: Greif
Santina A

Elmwood Park, IL 60707-3214 NCPDP#: 1403841
Birth: 01/12/1962

 

 

 

 

 

 

 

 

Prescriptions: Dates : 03/01/2018 TO 04/24/2018

LastFill Rx # Drug Name Qty T/P Price RPh
Physician Name

03/01/2018 6956513 __ Lidocaine Viscous 2 % Sol Hi-T : 100 MIL $0.00 SAG
WIACEK, JAN K ] :

03/07/2018 6969054 Hydroxyzine Pamoate 50 Mg Cap Sand 30 MIL $0.00 PMS
DUDZINSKI, CEZARY D

03/08/2018 2939987 Hydrocodone-Acetaminophen 10-325 Mg Tab 30 MIL $0.00 SAG
Ferkau, Karen —_

03/23/2018 6963097 Prazosin Hcl 2 Mg Cap Teva 30 MIL $0.00 SAG
DUDZINSKI, CEZARY D

03/29/2018 6971132 Gabapentin 600 Mg Tab Nort 60 MIL $0.00 SAG
WIACEK, JAN K

03/29/2018 4940469 Alprazolam 2 Mg Tab Parp 30 MIL $0.00 SAG
WIACEK, JAN K

03/30/2018 6956515 Cyclobenzaprine Hcl 10 Mg Tab Sole 30 MIL $0.00 SS

WIACEK, JAN K

04/10/2018 4940242 Zolpidem Tartrate 10 Mg Tab Nort 30 MIL $0.00 SAG
DUDZINSKI, CEZARY D

04/19/2018 6943018 Drysoal 20 % Sol Pers 60 MIL $0.00 MAB
WIACEK, JAN K

04/19/2018 4940612 _ Clonazepam 2 Mg Tab Nort 60 MIL $0.00 NA

DUDZINSKI, CEZARY D

04/19/2018 . 6973152 Doxepin Hel 50 Mg Cap Myla 30 MIL $0.00 NA

DUDZINSKI, CEZARY D —

04/19/2018 6973154 Hydroxyzine Pamoate 50 Mg Cap Sand 90 MIL $0.00 NA

DUDZINSKI, CEZARY D =

04/19/2018 6973153 Prazosin Hel 2 Mg Cap Teva 30 MIL $0.00 NA

DUDZINSKI, CEZARY D
wy Case: 1:14-cv-04854 Document #: 138 Filed: 06/19/18 Page 68 of 101 PagelD #:424

MEDICAL EXPENSES Page |
Patient : Wojcik Pharmacy: Osco Drug #3477
Cezar 4734 N. Pueblo
RespPty : Chicago, IL 60656
2131 N Harlem Ave RPh: Greif
Santina A

Elmwood Park, [L 60707-3214 NCPDP#: 1403841
Birth : 01/12/1962

 

 

 

 

 

 

 

 

 

Prescriptions: Dates : 03/01/2017. TO 04/24/2017

LastFill Rx # Drug Name Qty T/P Price RPh
Physician Name

03/02/2017 6923293 ; Fluticasone Propionate 50 Mcg/Act. Spr Hi-T 16 MIL $0.00 KG
DAMASARU, LENUS =

03/10/2017 = =6930711 Diclofenac Sodium Dr 75 Mg Tab Acta 60 MIL $0.00 SAG
DAMASARU, LENUS

03/16/2017 4928653 Clonazepam 2 Mg Tab Acco 60 MIL $0.00 ~BG
DUDZINSKI, CEZARY D

03/22/2017 6928657 Prazosin Hel | Mg = Cap Myla 30 MIL $0.00 ~BG
DUDZINSKI, CEZARY D | |

03/27/2017 6923292 Cyclobenzaprine Hel 10 Mg Tab Myla 30 MIL $0.00 JJ
DAMASARU, LENUS

03/27/2017 4923381 Zolpidem Tartrate 10 Mg Tab Nort 30 MIL $0.00 ~BG
DAMASARU, LENUS

03/27/2017 6938673 Trazodone Hel 150 Mg Tab Sunp 30 MIL $0.00 SAG
DUDZINSKI, CEZARY D 3

04/01/2017 6924064 Nortriptyline Hel 10 Mg Cap Taro 30 MIL $0.00 JJ
Bergman-Bock, Stuart

04/03/2017 4923308 Clonazepam | Mg Tab Nort 120 MIL $0.00 SAG
DUDZINSKI, CEZARY D | ,

04/04/2017 8930322 Vitamin D3 2,000 Unit Cap Rugb 30 CSH $7.99 ~BG
DAMASARU, LENUS

04/06/2017 6928655 Hydroxyzine Hcl 50 Mg Tab; Nort 60 MIL $0.00 MAB
DUDZINSKI, CEZARY D —_—— ;

04/07/2017 6930542 Gabapentin 600 Mg Tab Nort 60 MIL $0.00 SAG
DAMASARU, LENUS

04/14/2017 6928652 Venlataxine Hel Er 24hr 150 Mg...Cap Zydu 30 MIL $0.00 SAG

DUDZINSKI, CEZARY D

 

 
 

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RUSH UNIVERSITY MEDICAL CENTER WOJCIK,CEZARY EM
MRN: 5368264
DOB: 1/12/1962, Sex: M
ED Provider Notes signed by Shah, Meeta P, MD at 6/30/2013..1:24 PM
Author: Shah, Meeta P, MD Service: Emergency Author Attending
Type:
Filed: 6/30/2013 1:24 PM Note Time: 6/30/2013 1:11PM Note Type: ED Provider Notes

Chief Complaint
Patient presents with
* Chest Pain

* Shortness of Breath

HPI Comments: 51 yo male presents to the ER for evaluation of chest pain

HPI Comments: Patient presents to the ER for evaluation of chest pain that started 3-4 days ago. Reports
intermittent pain, does not radiate. No cough. + sob that is worse with exertion. He feels very weak.

Chest Pain

This is a new problem. The current episode started on Friday. The problem has not changed since onset.The

pain is present in the substernal region. Pertinent negatives include no fever. Has tried nothing for the
symptoms.

Chest Pain

This is a new problem. The current episode started more than 2 days ago. The pain is associated with exertion
and an emotional upset. The pain is present in the substernal region. The pain is moderate. The quality of the
pain is described as dull and pressure-like. Associated symptoms include shortness of breath.

His past medical history is significant for anxiety/panic attacks.

Shortness of Breath

Associated symptoms include chest pain.

Past Medical History
Diagnosis

Date
* Anxiety.
* Traumatic brain injury

gun shot wound 20 years ago
* Hearing loss

* Parkinson's disease

Past Surgical History
Procedure

“ Hx back surgery
* Hx knee surgery
* Hx shoulder surgery

Date

Family History
Problem

* Cancer
- Cancer

Relation Age of Onset
Mother

Father

Page 1 of 4
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OLEPRELIOOO! -LNNODOV OS9SZITIT “UAGUO C10Z-TNI-b ZO-E1 «LAH 60-14 Wigio LezIszi «oT «2HOstT =6Ampuugy, = spuuicg

         

 

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frrazeizo:t £10Z/b/L 40 (607) AUWD ‘CIN “UAVHOS Aq psuutyuoy
Juasaly MOU az0 Saxopdwos [op O amynualg ‘te Li- 8S sax J -Y-d [i907
7 ‘THZLE107-Ad¥-60J° 9. Indwo3 4 Lbp/R6E ILO/LO 6lODgwaOy
' = - r6 uopeanip S¥O
' psuMUajapun ade * QIEJUL JOLIZIUY JNO SILI JOUUE,) ttl [eAsa)UT Yd uelstant?) at
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#;\ RUSH UNIVERSITY
WD MEDICAL CENTER Ex 10

1653 WEST CONGRESS PARKWAY
TOWER 1ST FLOOR
CHICAGO IL 60612
312-947-0100

__Gezary Wojcik

~ DOB: 0442/1962 MRN: 5368264 Weight: 90.719 kg (200 Ib)
2123 N HARLEM
CHICAGO IL 60639

Jun 30, 2013

primidone (MYSOLINE) 50 mg PO tablet

take 3 Tablets by mouth nightly.

Quantity: “20 (Twenty) Tablet** Refills: **O (Zero)**
— Dispense as Written: No

divalproex'ER (DEPAKOTE ER) 250 mg PO extended release tablet
take 1 Tablet by mouth daily, Swallow whole

‘Quantity: **30 (Thirty) Tablet** Refills: “0 (Zero)**

Dispense as Written: No -

__propRANOLOL (INDERAL) 20 mg PO tablet
take 0.5 Tablets by mouth two times daily. Best if taken on an empty stomach.

Quantity: **40 (Forty) Tablet** Refills: “0 (Zero)™*
Dispense as Written: No

FLUoxetine (PROZAC) 20 mg PO capsule
take 2 Capsules by mouth daily.

Quantity: "30 (Thirty) Capsule** Refills: **0 (Zero)**
Dispense as Written: No

 
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4;\ RUSH UNIVERSITY
wy MEDICAL CENTER

1653 WEST CONGRESS PARKWAY
= TOWER 1ST FLOOR
CHICAGO IL 60612
312-947-0100

= = -Cezary Wojcik => Jun 30, 2013

DOB: 01/12/1962 MRN: 5368264 Weight: 90.719 kg (200 Ib)
2123 NHARLEM
CHICAGO IL 60639

clonAZEPAM (KLONOPIN) 1 mg PO tablet

__ take 1 Tablet by mouth two times daily. One in the morning and one at night, ae pr at night
_ Quantity: “30 (Thirty) Tablet** Refills: **0 (Zero)**
- seiserres as-Written: No

ALPRAZolam (XANAX) 1 mg PO tablet-

take 1 Tablet by mouth nightly as needed for Anxiety or Insomnia.
Quantity: “20 (Twenty) Tablet™ Refills: **O (Zero)**
Dispense as Written: No

Shah, Meeta_P? MD
DEA: FS0811681

THIS DOCUMENT CONTAINS VOID PANTOGRAPH AND SECURITY BACKPRINT, PRINTED ON SAFETY PAPER
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RUSH UNIVERSITY MEDICAL CENTER WOJCIK,CEZARY
ED LMR MRN: 5368264
COB: 1/12/1962, Sex: M
Acct #: 53682642012
Admitted: 6/30/2913 Discharge: 6/89/2013

 

 

 

 

 

————— — ——
ED Notes signed by Olvera, Isabel C, RN at 6/30/2013 12:07 PM =
Author: Olvera, Isabel C, RN Service: Emergency Author Recistered Nurse
Type:
Filed: 6/30/2013 12:07 PM - Note Time: 6/30/2013 12:07 PM
C/o cp and sob, unable to come to er b/c he was incarcerated.
ED Notes signed by Ellington, Bailey, RN at 6/30/2013 12:25 PM
Author: Ellington, Bailey, RN Service: Emergency Author Recistered Nurse
Type:

Filed: 6/30/2013 12:25PM Note Time: 6/30/2013 12:24 PM

51 y.o M with c/o chest pain substernal since Wednesday intermittent. Pt also reports SOB, dizziness and HA
as wall. Pt released today from prison and'reports he has not seen a MD about this problem yet. Pt reports hx
of Mlin past.

ED Notes signed by Shah, Meeta P, MD at 6/30/2013 2:06 PM
Author: Shah, MeetaP,MD = Service: Emergency Author Attending
Type
Filed: 6/30/2013 2:05PM Note Time: 6/30/2013 2:04PM

Patient opted not to stay for ed obs and stress. Wants to sign out ama says he feels better. Just needs his m
refill.

Patient AAOx3 and has decided to leave AMA. He is capable of making his own decisions. Understands the
risks and morbidity and mortality.

 

 

 

ED Provider Notes _§$sss ne =
ED Provider Notes signed by Shah, Meeta P, MD at 6/30/2013 1:24PM
Author: Shah, MeetaP, MD ‘Service: Emergency Author Attending

Type
Filed: 6/30/2013 1:24PM Note Time: 6/30/2013 1:11 PM

 

 

Chi
Pat!

   

 

* Shortness of Breath

HP! Comments: 51 yo male presents to the ER for evaluation of chest pain

HP! Comments: Patient presents to the ER for evaluation of chest pain that siarted 3-4 days ago. Reports
intermittent pain, does not radiate. No cough. + sob that is worse with exertion. He feels very weak.

Chest Pain
This is a new problem. The current episode started on Friday. The problem has not changed since onset. The
pain is present in the substernal region. Pertinent negatives include no fever. Has tried nothing for the

symptoms.
Page 362 WOJCIK000363

 
,, Case: 1:14-cv-04854 Document #: 138 Filed: 06/19/18 Page 74 of 101 PagelD #:424

RUSH UNIVERSITY MEDICAL CENTER WOUJCIK,CEZARY
ED LMR MRN;: 5368264
DOB: 1/12/1962, Sex: M
Acct #: 58682642012
Admitted: 6/30/2913 Discharge: 6/39/2013.

Provider Notes (continued)

Chest Pain

This Is a new problem. The current episode started more than 2 days ago. The pain is associated with exertion
and an emotional upset. The pain is present in the substernal region. The pain is moderate. The quality of the
pain is described as dull and pressure-like. Associated symptoms include shortness of breath.

His past medical history is significant for anxiety/panic attacks.

Shortness of Breath

Associated symptoms include chest pain.

fast Medics

* Anxiety
* Traumatic brain injury

gun shot wound 20 years ago
* Hearing loss
* Parkinson's disease

  

 

  

  

 

 

 

 

* Hx knee surgery
* Hx shoulder surgery

Family History
ay BIB Ts: 3:

    

+ Cancer Father

 

 

 

   

* Never Smoker
Tee MAGES
» Never Used

   

 

Social History

Alcohol Use: Currently
Frequency of Use: Weekly Comments: 2-3

Page 363 WOJCIK000364

 

 

 
 

Gtgogesra vad

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a

 

 

 

 

 

 

Case: 1:14-cv-04854 Document #: 138 Filed: 06/19/18 Page 75 of 101 PagelD #:424
COSMOPOLITAN HEALTH CARE CENTER COSMOPOLITAN HEALTH CARE GENTER
JERRY A. JAKIMIEC, M.D. EX a JERRY A. JAKIMIEC, M.D.
PHYSICIAN AND SURGEON PHYSICIAN AND SURGEON
9328 NORTH HARLEM AVENUE 3328 NORTH HARLEM AVENUE
CHICAGO, IL 60634 . CHICAGO, IL 60634.
(773) 836-4520 TEL. | 4 DEA # BJ 5360615 (773) 896-4520 TEL I DEA # BJ 5360615
(773) B36-4512 FAX | cies) Sa (773) 836-4512 FAX \ f )
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Case: 1:14-cv-04854 Document #: 138 Filed: 06/19/18 Page 76 of 101 PagelD #:424

COSMOPOLITAN HEALTH CARE CENTER

JERRY A. JAKIMIEC, M.D.
PHYSICIAN AND SURGEON
39328 NORTH HARLEM AVENUE
CHICAGO, IL 60634

en atet t DEA # BY 5360615

 

 

 

(773) 836-4512 FAY

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Case: 1:14-cv-04854 Document #: 138 Filed: 06/19/18 Page 77 of 101 PagelD #:424

Ex 13

RUSH AMB LMR Report WOJCIK,CEZARY
MRN: 5368264
DOB: 1/12/1962, Sex: M
Acct #. 53682642013
Eno. Date.07/11/13

   
 

Patianit:presents mith: ==:
* Abnormal Movement

_ HISTORY OF PRESENT ILLNESS:

The patientis a1 year old right handed white non-Hispanic male who presents with abnormal movements.
Since the last visit with me one year ago, he was seen in the ED a couple of times. He was out of medication
and did not have medical coverage. He tried to get a medication refill and hadn't been seen so it was refused.
He had chest pain, shortness of breath, and anxiety. He was in jail as he was stopped by the cops and they
arrested him, He.was in jail for a couple of days. He is having some tremors on his meds. He is having some
dizziness but he is used to it. What seams to be bothering him is his vision which is getting worse. He uses
glasses for reading but does not use glasses for other things. His walking is OK. He is still having headaches
and dizzy spells. He was restarted on his meds two weeks ago except for the prozac. He was only off his
meds for a few days. The prozac was not restarted.

History Information:

Past Medical History: No new information
Past Surgical History: No new information
Family History: No new information
Social History: No new information
Allergy: No new information

CURRENT MEDICATIONS:
Current outpatient prescriptions

PAIN ASSESSMENT (Patient reports Pain): No

REVIEW OF SYSTEMS:
Constitutional: normal
Eyes: normal
Ears/Nose/Threat: normal
Respiratory: normal
Cardiac/Vascular: normal
GI: normal

GU: normal
Musculoskeletal: normal
Skin: normal

Neurologic: normal
Psychiatric: normal
Endocrine: normal
Hematology/Lymphatics: normal
Allergy/Immunology: normal

PHYSICAL EXAM:

Vitals: BP 130/85 | Pulse 63 | Ht 182.9 cm (6) | Wt 90.719 kg (200 Ib) | BM! 27.12 kg/m2 Body mass index is
27.12 kgi(mm*2).

NEUROLOGIC:

General Appearance: Well nourished, well developed, no apparent distress.

Page 395 WOJCIKO000396

 

 

 
 

Kousik Krishnan, MD, FHRS, FACC
Rush University Medical Center
Associate Professor of

Section of Cardiology

Professional Building
1725 W. Harrison St.

> RUSH

 

Case: 1: 14*cv- 04854 Document #: 138 Filed: 06/19/18 Page 78 of 101 Pagel i daths

WOJCIK 5368264

 

 

 

 

 

Device: REVEAL LINQ LNQ11 FullView SWO26 Software Version 8.0
Serial Number —RLA610985S Copyright = Medtronic, Inc. 2013
Session Summary Page 1
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DEB RAH A. Haus M.D.
SH UNIVERSITY NEUROLOGISTS 725 W. Harrison Street
‘ ; Suite 755

Chicago, Illinois 60612

 
   
 

 

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UCase: 1:14-cv-04854 Document #: 138 Filed: 06/19/18 Page 79 of 101 PageID #:424
RE: Wojcik, Cezary

DOB: 1/12/1962 Ex IS

DOS: 7/26/2013 MOR Oak Park Clinic Note (JAB/vij):

HISTORY: Cezary presents today for followup evaluation of his bilateral knees. The patient was last seen on
09/07/2012 and completed a course of Orthovisc. The patient notes that this helped for a few months and

PAST MEDICAL HISTORY: Positive for traumatic brain injury, hearing loss, Parkinson disease, and anxiety.

PAST SURGICAL HISTORY: Spinal fusion and multiple arthroscopic surgeries to the bilateral knees.

CURRENT MEDICATIONS: Ibuprofen on occasion as well as clonazepam, fluoxetine, primidone, Depakote
ER, alprazolam, and propranolol.

ALLERGIES: No known drug allergies.
FAMILY HISTORY: Positive for diabetes, arthritis, and cancer.

SOCIAL HISTORY: Patient is nght-hand dominant. He denies tobacco, alcohol, or drug use.

REVIEW OF SYSTEMS: Twelve-point review of systems is reviewed and is negative except for information
contained in the history.
PHYSICAL EXAMINATION:

Vital Signs: Blood pressure 119/82, pulse 80, height 72 inches, and weight 223
pounds.

General: The patient is alert, oriented, in no acute d

istress with no flattening of affect. Skin shows no
erythema, edema, ecchymosis, or rash.

Right knee: Reveals well-healed Scars from the previous arthroscopic surgeries. There is no effusion. There
is range of motion from 0-130 degrees with pain at terminal flexion. There is tenderness to palpation of the

medial joint line. Valgus and varus Stress testing, Lachman testing, and posterior drawer testing is normal.
Rotational testing is negative.

Left knee reveals a trace effusion. There are mu ltiple scars including a large anteromedial scar from the
patient's previous surgeries. Range of motion is 0-130 degrees with pain at terminal flexion. There is
tenderness to palpation of the medial and lateral joint line. Valgus and varus stress testing, Lachman testing,
and posterior drawer testing is normal... Rotational testing is negative.

— “i
”

IMPRESSION: A 51-year-old male with osteoanthiti OPIHS bilateral knees.

PLAN: | have discussed my physical exam findings as well as the diagnosis with the patient. | have
recommended that the patient proceed with a steroid injection as well as viscosupplement. The patient has
received these and responded positively to these in the past. | would recommend performing a steroid
-

“> - ¥Case: 1:14-cv-04854 Document #: 138 Filed: 06/19/18 Page 80 of 101 PagelD #:424

injection as well as performing the first viscosupplement injections. The patient only received 2-3 months of
relief from the previous injection. | would recommend trialing a series of Supartz injections. The patient
seems agreeable to this. | have discussed the risks, benefits, and complications including, but not limited to
bleeding, infection, incomplete relief of pain and reactive synovitis. The patient voiced understanding and

Supariz, lot number 2Y632N. The patient tolerated the procedure well to both knees and there were no
complications. The patient will follow up at one-week intervals to complete a 3 injection series. | have also

given the patient a prescription for tramadol 50 mg 1-2 tablets every 8 hours as needed for pain. The patient
voiced understanding and all questions were answered to his satisfaction.

Joshua A. Blomgren, DO
Adult and Pediatric Sports Medicine

This document was digitally reviewed and approved by: Joshua A Blomgren, DO
A: 7/29/2013 7:35:46 AM
 

Case: 1:14-cv-04854 Document #: 138 Filed: 06/19/18 Page 81 of 101 PagelD #:424

a Ex\6 @RUSH

Cezary Wojcik Description: 51 year old male

by

 

 

9/18/2013 11:30 AM . Office Visit Provider. Daniel. J. Deziel, MD cons
MRN: 5368264 Departrnent’ Rush University Surgeons
Department
Name Address Phone Fax
Rush University Surgeons 1725 W HARRISON ST 312-942-6500 312-563-2080

SUITE 810/818
Chicago IL 60612

Instructions
None

Appointment Reminder

If you are unable to keep your appointment, please notify your physician office at least 1 business day in advance.
Thank you.

Your Vitals were - Last Recorded

 

BP Pulse Temp Height Weight BMI
129/80 68 97 °F (36.1 °C) 182.9 cm (6') 99.791 kg (220 Ib) 29.84
kg/m2
Spo2 Smoking
Status
97% Never
Smoker
Allergies as of 9/18/2013 Reviewed on: 9/18/2013

 

No Known Allergies

Medications and Orders
Your Current Medications Are
primidone (MYSOLINE) 50 mg PO tablet take 1 Tablet by mouth nightly.

clonAZEPAM (KLONOPIN) 1 mg PO tablet — take 1 mg by mouth nightly as needed. One in the morning and one
at night, and prn at night
FLUoxetine (PROZAC) 40 mg PO capsule _ take 1 Capsule by mouth daily.

divalproex ER (DEPAKOTE ER) 250 mg PO take 1 Tablet by mouth daily. Swallow whole.
extended release tablet
ALPRAZolam (XANAX) 1 mg PO tablet take 1 Tablet by mouth nightly as needed for Anxiety or Insomnia.

propRANOLOL (INDERAL) 20 mg PO tablet take 0.5 Tablets by mouth two times daily. Best if taken on an empty
stomach.

Immunizations administered on date of encounter - 9/18/2013 Never Reviewed
No immunizations reported for this encounter

Pharmacy
OSCO DRUG #3477
4734 North Cumberland Chicago IL 60656
Phone: 773-625-7569 Fax: 773-625-4502

Wojcik, Cezary (MRN 5368264) Page 1 of 2
~ Case: 1:14-cv-04854 Document #: 138 Filed: 06/19/18 Page 82 of 101 PagelD #:424

All Medical Problems
Headache

Essential and other specified forms of tremor

MyChart Activation Instructions

MyChart is an online tool allows you to connect with your care team and review your health record whenever and
wherever it fits into your schedule.

To begin using MyChart, please complete the following steps:

!. In your Internet browser, type the following URL: mychart.rush.edu,
Click the green Sign Up button in the center to go to the next screen.
Enter the MyChart activation code below. (If you do not sign up within 60 days of receiving this code, you must
obtain a new code.)

 

3CU38-K9QC7-F2AHB
Expires: 11/17/2013 12:10 PM

4. Enter your date of birth.

5, Enter your ZIP code.

6. Click the green Next button at the bottom to go to the next screen.
ae

Enter the MyChart username you would like. (This will be your permanent MyChart username so please make a
note of what it is.)

8. Enter the MyChart password you would like. (You can change your password in MyChart at any time.)

9. Choose a security question from the dropdown box.

10, Enter the answer to your security question.

11, Click the green Next button at the bottom to go to the next screen.

12. Enter the email address you would like to receive notifications when new information is available in MyChart.

13. Click the green Log In button at the bottom to begin using MyChart.

MyChart Tips

* Keep your MyChart login information secure and lock any devices that you use to access MyChart. Your MyChart
username and password will give anyone access to your personal health information.

* Do not use MyChart to send messages requiring immediate attention. Call 911 or go to the nearest emergency
room in the.event of an emergency. For urgent medical matters, contact your care team by phone.

* You may see test results in MyChart before your care team has had a chance to review them or to contact you. If
you have any questions or concerns about your results, please contact your care team.

* Your use of MyChart is monitored. If you use MyChart inappropriately, your access may be revoked,

* You can give another adult access to your entire MyChart record by designating that person as your proxy

(download the proxy request form at mychart.rush.edu/resources), You can revoke this access within MyChart at
any time,

If you have any trouble signing in, please call the MyChart Helpline at: (312) 563-6600.

Wojcik, Cezary (MRN 5368264) Page 2 of 2
__having constant low back pain since then. Of note, the patient has been on disability since 1995 due to

Case: 1:14-cv-04854 Document #: 138 Filed: 06/19/18 Page 83 of 101 PagelD #:424
RE: Wojcik, Cezary

DOB: 1/12/1962 EX I7

DOS: 10/14/2013 MOR Winfield Clinic Note (DC/HNN):

HISTORY OF PRESENT CONDITION: Mr. Wojcik is a 51-year-old gentleman who returns today
He was last seen on Septembet-18,.2013.:He has a hi

for followup.
2 Stony. ot L4-L5 discectomy followed by an instrumented”
fusion. He subsequently underwent removal of hardware. @ patient states that he was doing welt

above surgery until June 26, 2013. He was passenger_in_a bus with the bus suddenly came to. He was

leaning forward at that time and slid backwards onto the floor. The patient landed on his back and has been

shoulder, knee, and his back issues. He states that this back problem today is different. The pain is rated as
severe. He has pain essentially in every position. The patient has undergone several rounds of phy:

therapy in the past and has been doing these exercises on his own since this incident. He is using Advil as

needed for pain. He describes radiation of pain in the posterior thigh bilaterally. There is no pain distal tothe |”

 

knee. He also has tingling sensations in the same distribution, He has no bowel or bladder dysfunction. Heis

 

not working.

PHYSICAL EXAMINATION: The patient is well appearing, in no acute distress. He has significant
kinesiophobia. There isa loss of lumbar lordosis on inspection. On lumbar flexion, he is able to reach his
knees only. Extension is limited to about 5 degrees. There is tactile allodynia in the thoracolumbar Spine in
the midline. There are no trigger points palpated. Neurologically, he demonstrates no focal motor deficits.

Sensation is intact. He has no changes in his symptoms with lumbar flexion, extension, rotation or lateral
bending.

IMPRESSION:
1. History of L4-L5 discectomy, fusion and removal hardware.
2. Persistent spondylolisthesis.
3. Acute-on-chronic low back pain.

PLAN: Although the patient is reporting high levels of pain intensity and disability, he exhibits mild pain
behaviors in the office. | would like to treat his condition conservatively. He is ordered for an topical capsaicin
and gabapentin at 600 mg q.h.s. He will up titrate this to b.i.d. as tolerated. The patient inquired about spinal
injections today. However, at the current time, based on his history and exam, it is difficult to localize the
pathologic lesion to begin directed therapy. He will fax over his previous spine injections, which apparently
worked well. | would like to see him back in the office in approximately 4 weeks. At that time, if his condition

is not improved, then we can discuss more additional diagnostic test as appropriate. All of his questions and
concerns are solicited and satisfactorily addressed.

    

David Cheng, MD
This document was digitally reviewed and approved by: David Cheng, MD
A: 10/22/2013 9:18:45 AM

  

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Case: 1:14-cv-04854 Document #: 138 Filed: 06/19/18 Page 84 of 101 PagelD #:424

RUSH AMB LMR Report WOJCIK,CEZARY Ex [ g

MRN: 5368264

DOB: 1/12/1962, Sex: M
Acct #: 53682642019
Enc. Date:02/25/14

(85/1) Palpitations (primary encounter diagnosis)
Comment: Patient with previous cardiac evaluation without ravealing an amhythmia. Significant symptom

burden suggests that patient likley has a cardiac arrhythmia, though anxiety attack remains lower on the
differential.

| Plan:
- 30 Day Transtelephonic Monitor
- We will start BB if continues to have symptoms, after reviewing monitor.

(786.50) Chest pain

Comment: Related to episodes, and indicative of possible SVT.
Plan:

- As above.

- Previous stress test was negative and makes CAD low probability.

RTC: 6 weeks.

Junaid Bhutto, MD
Cardiology (EP) Fellow
Rush University Medical Center

 

 

   

   
 

 

 

     

 

 

 

Procedure Notes
FS AGthOr ss: ss Statue: =P LBSt Gallon: = ‘Updated sae
eon Kousik, Signed sth! Kousik, 9125/2014 12:09 PM

 

 

  

[SFAssoc:: Orders

 

ELECTROCARDIOGRAM, ROUTINE WAT LEAST 12 ELECTROCARDIOGRAM, ROUTINE WAT LEAST 12

 

 
      

 

    
 

  

Palpitations

   

 

 

 

Sr, no pre-excitation

Addendum Notifications
No notes of this type exist for this encounter, _

Letters

 

Letter on: 2/25/2014 by: KRISHNAN MD, KOUSIK [32613] Status: Sent
Page 569

 
Case: 1:14-cv-04854 Document #: 138 Filed: 06/19/18 Page 85 of 101 PagelD #:424

Medications and Orders (continued) | Ex | 9

Your Current Medications Are (continued)

SI SCicadan , —
(Taking) ~ a, \
divalproex ER (DEPAKOTE ER) 250 mg PO
extended release tablet (Taking)

ALPRAZolam (XANAX) 1 mg PO tablet
Taking)

 
 
  

    

 

at night, and prn at night
take 1 Tablet by mouth daily. Swallow whole.

  
 
 

take 1 Tablet by mouth nightly as needed for Anxiety or Insomnia.

  

immunizations Administered on Date of Encounter - 4/15/2014 Never Reviewed
No immunizations reported for this encounter

Result Summary for ELECTROCARDIOGRAM, ROUTINE W/AT LEAST 12 LEADS
Eniry Date

 

 

4/15/2014
Result Narrative
Krishnan, Kousik, MD 4/15/2014 3:17 PM

Sée Scanned ECG

  
  

All Medical Problems

Atrial flutter.
Palpitations
Recurrent inguinal hernia
Headache

     
    

Essential and other specified forms of tremor...) __/

TMstructions
MyChartis an online tool allows you to con
wherever it fits into your schedule.

 

nect with your care team and review your health record whenever and

To begin using MyChart, please complete the following steps:
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2. Click the green Sign Up button in the center to go to the next screen.
3. Enter the MyChart activation code below. (If you do not sign up within 150 days of receiving this code, you must
obtain a new code.)
Z6S8E-GB7AG-PQNK7
Expires: 7/25/2014 1:13 PM

Enter your date of birth.
Enter your ZIP code.

Click the green Next button at the bottom to go to the next screen.

Enter the MyChart username you would like. (This will be your permanent MyChart username so please make a
note of what it is.)

8. Enter the MyChart password you would like. (You can change your password in M
9. Choose a security question from the dropdown box,
10. Enter the answer to your security question.

11. Click the green Next button at the bottom to go to the next screen.

12. Enter the email address you would like to receive notifications when new information is available in MyChart.
13. Click the green Log In button at the bottom to begin using MyChart.

MyChart Tips

* Keep your MyChart login information secure and lock any devices that you use to access MyChart. Your MyChart
username and password will give anyone access to your personal health information.
* Donot use MyChart to send messages requiring immediate attention. Call 941 or go to the nearest emergency

room in the event of an emergency. For urgent medical matters, contact your care team by phone.

* You may see test results in MyChart before your care team has had a chance to review them or to contact you. If
Wojcik, Cezary (MRN 9368264)

NO Oh

yChart at any time.)

Page 2 of 3
 

 

Case: 1:14-cv-04854 Document #: 138 Filed: 06/19/18 Page 86 of 101 BS

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Cosmopolitan Medical Center
Jerry A. Jakimiec M.D.
Physician & Surgeon

3328 N. Harlem Ave., Chicago, IL 60634 Tel: (773) 836-4520/4515 Fax: 4512

 

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_WE_PROTECT!!]
 

Case: 1:14-cv-04854 Document #: 138 Filed: 06/19/18 Page 87 of 101 PagelD #:424

Order (Rey. 9/13/04) CCG 0002
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS ex2

 

 

PEOPLE OF THE STATE OF ILLINOIS

No. 11 CR 15230

 

ANTHONY AVADO A/K/A CEZARY WOJCIK

 

ORDER

TO: SHERIFF OF COOK COUNTY
COOK COUNTY DEPARTMENT OF CORRECTIONS

IT IS HEREBY ORDERED:

1. THAT ANTHONY AVADO A/K/A CEZARY WOICIK IS TO BE ASSIGNED TO THE
CERMAK MEMORIAL HOSPITAL FOR HIS PERIOD OF INCARCERATION IN CONNECTION WITH
THE ABOVE-CAPTIONED CASE.

2 THAT DURING HIS INCARCERATION, ANTHONY AVADO A/K/A CEZARY WOICIK IS
TO BE ADMINISTERED THE MEDICATIONS LISTED ON THE ATTACHED LETTER AS PER THE
ORDERS OF JERRY A. JAKIMIEC, M.D.

3. THAT UPON HIS RELEASE FROM THE COOK COUNTY DEPARTMENT OF
CORRECTIONS, HE IS TO BE GIVEN THE OPPORTUNITY TO MAKE A TELEPHONE CALL SO THAT
HE CAN BE PICKED UP FROM THE J ACILITTY IN A TIMELY FASHION IN ORDER TO
CONTINUE HIS MEDICATIONS.

  
  

 

 

 

 

 

 

 

Atty. No.:41531 cn ane SX

Name:KENT R. BRODY 3 Op — G2 Z_, 2003

Atty. for; DEFENDANT Gr CRO, fe

Address: 29S. LASALLE, SUITE328 SQ €%p,

City/State/Zip: CHICAGO, IL 60603 \ LEO fT
Telephone: CELL 708.744.1301 Judge C. SyetpvAn/ Judge's No. (bb l4

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
 

Case: 1:14-cv-04854 Document #: 138 Filed: 06/19/18 Page 88 of 101 a my Gy

 

Date: 6/30/2016

 

 

 

“Time  S5ZPM
Page: 2of2
AN
Name: Wojcik, Cezar Inmate #: 674735 Booking #: 20160630195
Assigned Cell: ReceipeNanibe= 090516
Quantity: Description: Color: Property Bag Token:
JEANS Blue
Notes
SHIRT Gray
Notes
TEE SHIRT Brown
Notes
SHOES Multi

Notes blue white

 

 

 

Clothing Received Date: 6/30/2016
Clothing Received Time: 3:49 PM
Clothing Officer A GONZALEZ
Officer: Officer:
Inmate (Booking): Dates

 

Clothing left at the Cook County Jail for longer than 30 days after your release/transfer will be destroyed.

Inmate (Discharge): Diate a .csssssseunsnssentssasnsssneessunstvenseseeeee

| have received my clothing items upon discharge from the Cook County Department of Corrections.

Clothing Desianee: oo...

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| have received the above named Inmate clothing from the Cook County Department of Corrections.

D ale: {SESE OTT TTT = Fewer eb hheey i eee seen hetseegdeseren hihi HHeteds
KCN ingiity = Wb Sys Oe Red Pogamgnat #: 138 Filed: 06/19/18 Page 89 of 101 Pagelp 6 #: 424 a

Resident Funds Inquiry

Print Page Content
Reset Password

Logout

 

Resident ID: |20160630195 | | Submit |

 

Resident ID: 20160630195

eee CERMAK NEN RIAL HUSH/TAC
Location: - 8 3W - 3205- -.
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—_———

Account Activity: Prior History

9/13/2016 120593748 EPR O1D:102363415- -69.34 45.36 0.00 0.00 0.00 45.36
ComisaryPurch-
Reg

OID:102333160- -31.27 114.70 0.00 0.00 0.00 114.70
ComisaryPurch-
Reg

OID:102328001- -7.22 145.97 0.00 0.00 0.00 145.97
ComisaryPurch-
= ee _ -. Rea

7/12/2016 120367224 EP

Date Transaction Type _‘ Description Amount Balance Due Held Encumbered Total if

8/02/2016 120443332

m
Uv
A

7/26/2016 120417092 EP

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i

01D:102317423- -59.81 153.19 0.00 0.00 0.00 153.19
ComisaryPurch-
Reg

6/30/2016 120327950 KIOSK BOOKING 213.00 213.00 0.00 0.00
CASH KIOSK CASH
DEPOSIT

Al

0.00 213.00

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Case: 1:14-cv-04854 Document #: 138 Filed: 06/19/18 Page 90 of 101 ON EX c

 

| Orders

 

 

 

 

 

 

Patient : WOJCIK, CEZAR Med Rec # : 006747352
Address : 2800 S CALIFORNIA DOB : 01/13/62
CHICAGO, IL 60608 Sex : Male
Phone : Physician :
All Orders (All Statuses) es > panes ait

  
 

Mental Health Classification

P3 - Intermediate Mental Health, 06/30/16 17:38:00
Medical Classification

M4 - Infirmary Medical, 06/30/16 19:15:00
Level of Care

07/11/16 14:35:00, Low, 07/11/16 14:35:00
Level of Care

07/01/16 10:10:00, Medium, 07/01/16 10:10:00
Level of Care

06/30/16 18:29:00, High, 06/30/16 18:29:00
Chronic Disease Alert

06/30/16 18:26:00, Seizure Disorder
Chronic Disease Alert

06/30/16 18:26:00, Hypertension

 
   
 

Alert CCDOC
09/27/16 12:30:00, Walker, Routine
Alert CCDOC
08/05/16 13:27:00, Lower Bunk, Routine
Alert CCDOC
| ___ 06/30/16 18:32:00, Wheelchair Long Distance Only, Routine
Alert CCDOC a : ait
06/30/16 18:27:00, cane, Routine
Alert CCDOC
ve 06/30/16 1 00,
-Ranit/Discharge ©

 

Document Problems
06/30/16 18:29:00, Routine
Document Allergies
06/30/16. 1B ae 00, ,. Routane... “tetaleartter dg Mert eisspcn coe: = .
Nursing Orders» Cia Ree ek oe TA Se eM renee” TRIS Os a St Bes 2 oh
Weigh Patient

06/30/16 18:29:00, Routine, Once, Stop Date/Time: 06/30/16 18:29:00
Transfer to (CHS)

06/30/16 17:38:00, Mental Health Intermediate Care, Other, Routine, 06/30/16 17:38:00
Precautions, Patient

06/30/16 18:29:00, Routine, Fall Prevention, Stop Date/Time: 06/30/16 18:29:00
Nursing Orderable (generic) (PLEASE SEND PATIENT TO LAB)
07/01/16 9:00:00, Routine, PLEASE SEND PATIENT TO LAB, Stop Date/Time: 07/01/16 9:00:00
Nursing Orderable (generic) (PLEASE ORDER WALKER FOR PATIENT)
09/27/16 12:30:00, Routine, PLEASE ORDER WALKER FOR PATIENT, Stop Date/Time: 09/27/16 12:30:00
Nursing Orderable (generic) (please give pt an extra blanket or pillow to place between knees for support at night)

07/08/16 11:46:00, Routine, please give pt an extra blanket or pillow to place between knees for support at night
Stop Date/Time: 07/08/16 11:46:00

Nursing Orderable (generic) (PLEASE CALL LAB TO COME DRAW LABS ON PATIENT)
09/07/16 10:31:00, Routine, PLEASE CALL LAB TO COME DRAW LABS ON PATIENT, Stop Date/Time: 09/07/16 10:31:00

cr

 

 

 

 

 

Print by : Sara

Printed : 10/25/16 05:18 (continued...)

 

 

Page 1 of 7

 
 

eee

.  , Case: 1:14-cv-04854 Document #: 138 Filed: 06/19/18 peg
*

PROSBA O WYDANIE
KOPII HISTORII CHOROBY

Prosba o wydanie kopii historii choroby. Prosimy 0 doktadne wypeinienie formularza, zebySmy mogli niezwtocznie speinié
Panstwa oczekiwania.

 

 

 

Nazwisko Imie Drugie imie

 

 

WOTCLK CEZARY
Data urodze OL Dzien 1D — /Rok GZ —, Dzisiejszadata Miesiac / [| oziew 765 | Rok 2OV6

 

 

 

 

Adres Miasto Stan Kod pocztowy Telefon

1634 we MLWAVEER LHGo| IC- | GoOEG7 | 773 G14 0G 7)

 

 

 

 

WYMAGANE INFORMACJE Upowazniam System Opieki Zdrowotney i Szpitali Powiatu Cook do uzycia lub ujawnienia wymienionych ponizej
danych w okresie waznosci danego upowaznienia. Prosze zaznaczyé wszystkie punkty majqce zastosowanie.

 

izyty w poradniach (nazwa poradni) wd Kompletna historia choroby Diagnostyka obrazowa
A R Rachunki \xOgdina
() Karta leczenia dertystycznego Wyniki badan radiologicznych

 

SkRaport z pogotowia Wyniki badan laboratoryjnych a enenoiarene ; ee
hkChirurgia (raport z operacjl, wyniki badan AOL terapii (pposz Wyse gnetycany
histopatologicznych) BROKEN BIBS & Be nciara
freszczenie, wlaczajac hospitalizacje 4) Inne (prosze wyszcze Pini). 4
(przebieg choroby i badania, konsultacje, ' Gs UC ea Q 71 () Medycyna nukleama

 

leczenie chirurgiczne, wypis) cyntygrafia koSci

 

 

xZapis w aktach apteki

 

Dotyezace nastepujacych dni leczenia: “A konkretna data: é -% O <-/6 { t/~. fieyan dni

 

Z nastepujacych miejsc: (Prosze zaznaczyé wszystkie punkty majace zastosowanie)

Sx<zpital Powiatu Cook () Wyaziat zdrowia Publicznego Powiatu Cook teats eae esrerm

im. John’a H. Stroger’a, Jra = Se Oise cerowoleel Publicznega 3 Wiezienie powiatu Cook
() Szpital Oak Forest ) Preychodnia Fantus () Tymezasowy areszt dia
) Szpital Provident () Przychodnia Sengstacke nieletnich

 

() Osrodek CORE im. Ruth M. Rothstein (_] Inne: |

 

ODBIORCA. Szczegéty odbioru — do rak pacjenta/innym osobom, instytucjom (np. firmie ubezpieczeniowej, szkole, lekarzowi)

 

(_} Odbiér osobisty

Sposob dostarczenia bf
Poczta

_] Inne (prosze wyszczegalnic)

 

 

Wyslaé do — Imie i nazwisko

- CECARY WOITIEN

 

 

Adres Miasto Stan Kod pocztowy Telefon
1649 MN. MILUAVEE CHEO\IC. |60657_ |\779 G6 040
» . ‘ . rOsobistly dostepnienia personelowi (} inne
Kopia dokumentow na uzytek: aes SS a (prosze wyszezegolnic)

 

 

 

OKRES WAZNOSCI. Jezeli nie zostanie zaznaczona Zadna z ponizszych opcji, upowaznienie posiada waznosc do chwili osiagniecia
okreslonego celu.

_) Od daty podpisu do:

_} Do wystapienia nastepujacego zdarzenia:

_) Inne (prosze wyszezegolnic):
UWAGA: W. istorii choroby psychicznej fnusi zostaé wyznaczona data gasniecia upowaznienia — opcja ,na czas
nieograniczony” nie moze byé zastosowana. TO

/2-320~¢

 

 

 

 

AN A A

 

Parent LABEL
Form # 0182
Item # 28-5000-0182 Rev: May 6, 2011

 

 

 
 

 

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PROSBA O WYDANIE
KOPI! HISTORII CHOROBY

 

 

 

Nazwisko Imig | Drugie imig
LI OT MNe CECAKS

WYSZCZEGOLNIENIE. Informaclie nie zostanga wydane, jezeli ponizeza ezeéé formularza nie zostanie wypetniona.

Prosimy 0 zaznaczenie jednej lub wazystkich opcji wymienlonych ponizej, aby wyrazié swoja zgode na na uzycie lub
ujawnienie informacji wyszczegéinionych obok korespondujacych kratek.
1 acje dotyczace:

choroby psychicznej lub zaburzen rozwojowych
infarmacje na temat testéw na HIV/AIDS lub laczenia (wiaczajac informacje. 26 dany test zostat zlecony,wykonany czy
zgtoszony, bez wzgledu na to, czy wynik byt dodatni czy ujemny)
Infarmacje dotyczace chordb zakaznych
informacje dotyczqace choréb przenoazonych droga piciowa
informacje dotyczace uzaleznien (np. alkoholizm, narkomania)
Infarmacje dotyczace napasci na tle seksualnym
informacje dotyczace zaniedban oraz psychicznego lub fizycznego znecania sie nad dzieckiem
informacje dotyczace testaw genetycznych
informacje dotyczacea sztucznego zaptodnienia
pPrzebiegu psychoterapii (nie bedace cze4ciq oficjainej historii choroby)

Wszystkie z powytszych (zaznaczajqc ta kratke, oSwiladczam, te zapoznatam sie z Powy2szq lista i wyrazam swoja zgode

na uzycle i ujawnienie moich poufnych danych medycznych w sposdéb okresiony przez ta dekiaracje)
Rozumiem, 2a w ka2dej chwil, mam prawo do wycofania swego upowaz2nienia poprzez pisemne zawiadomicnie CCHHS, Razumiam tez, £6 wycolanie
upowaznienia nie wptynie za Zadne postepowanie podjete prze CCHHS przed otrymaniem odwotania
Rozumiem, ze moge odmoéwic podplsania ponizszego upowaznienia i Ze moja odmowa nia wplynia na moje leczenie, plainosa, slarania o ubezpieczenie czy
kwalifikace wymagane do otrzymania swiadczer.
Rozumiem, te, mam prawo do do wgladu i kopil jakichkolwiek informacji utytych/yawnionych na podstawie tega upowatniania. Rozumiem, te w momenci,
gdy moje poufne dane medyczne rostang ujawnione upowalnionemu pedmiotow, CCHHS nie moze aqwarantowaé, ze przekazane informacje nie zostana
ujawnlone przez owe podmioty osobom trzecim lub w Przypadku 2adania na mocy prawa_ Osoby trzecie moga nie byé zwiqzane warunkami niniejazego
Upowaznienia ani prawem ochrony danych osobowych.
Rozumiem, ze CCHHS moze wymagaé podpisania upowaznienia przed podjeciem leazenia badacego czeécia badad naukowych lub teccenia wytacznie dia

Stworzenia danych medycznych na potzeby stron trzecich i ze CCHHS nie zaoferuje lecrenia badacego crescia badar naukowych jeteli nie podpisze tego
upowaznienia.

 

 

 

 

Przeczytatenv/am i rozumiem warunki tego upowatniania, motiwo4é zadania pytan dolyczacych uzycia i ujawnienia informaq! medycznych. Ninieszym
upowazniam CCHHS (System Opieki Zdrowotnaj i Szpitali Powiatu Cook ) do uzycia i ujawnienla moich poufnych danych medycznych w sposdéb okreslony
e2 te deklaracje.

Peseta PORDAS a rsync M-~LOSEb

Podpls pacjenta ty
Do utycia przez osoby reprezentujace pacjenta
ime i nazwisko przedatawiciela

 

 

 

 

| Stopien pokrewienatwa/relacii z pacjentem
Niniejszym oswiadczam, 2e posiadam prawo zlozenia powytszego oswiadczenia w Imieniu osoby wymienionej powyte{

 

 

Podpis osoby reprezentujacej pacjanta

 

Data

 

 

 

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Panent Lager
Form # 0182
Item # 28-5000-0182 Rev: May 6, 2011 ==

 

 
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